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                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

WI-LAN INC.                           §
                                      §
v.                                    §   CIVIL ACTION NO. 2:07-CV-473[TJW]
                                      §
ACER, INC., et al.                    §
                                      §   CONSOLIDATED WITH:
                                      §
WI-LAN INC.                           §
                                      §   CIVIL ACTION NO. 2:07-CV-474[TJW]
v.                                    §
                                      §
WESTELL TECHNOLOGIES, INC., et al.    §   JURY TRIAL REQUESTED


___________________________________       _____________________________________

                                      §
WI-LAN INC.                           §
                                      §
v.                                    §   CIVIL ACTION NO. 2:08-CV-247[[TJW]
                                      §
RESEARCH IN MOTION                    §
CORPORATION, et al.                   §   JURY TRIAL REQUESTED




             Wi-LAN INC.’S OPENING CLAIM CONSTRUCTION BRIEF
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I.       INTRODUCTION
         Pursuant to P.R. 4-5(a), Wi-LAN Inc. (“Wi-LAN”) respectfully submits this Opening
Brief on the proper construction of disputed claim terms of United States Patent Nos. 5,282,222
(“the ’222 patent”) and RE37,802 (“the ’802 patent”).

II.      PRINCIPLES OF CLAIM CONSTRUCTION
         Wi-LAN proposes constructions of the ’222 patent and the ’802 patent in accordance
with long-established principles of claim construction—giving a claim term the full breadth of its
ordinary meaning that one of skill in the art, at the time of the invention and in light of the
patent’s specification and prosecution history, would have given it, except in the unusual
circumstances where the intrinsic record provides a special definition for the term. See, e.g.,
Phillips v. AWH Corp., 415 F.3d 1303, 1316–17 (Fed. Cir. 2005). Because the Court is familiar
with the law of claim construction, Wi-LAN will discuss specific claim construction principles
only where applicable to the facts of this case.

III.     LEVEL OF ORDINARY SKILL IN THE ART
         Claims are to be construed from the viewpoint of a person of ordinary skill in the art.1
The level of ordinary skill in the art is a function of many factors, including “‘(1) the educational
level of the inventor; (2) type of problems encountered in the art; (3) prior art solutions to those
problems; (4) rapidity with which innovations are made; (5) sophistication of the technology;
and (6) educational level of active workers in the field.’”2
         Considering all of those factors in the context of the technology of the ’222 patent and the
’802 patent, one of ordinary skill in the art of spread spectrum wireless communications would
have a Bachelor of Science degree, or its equivalent, in electrical engineering with approximately
five years of design engineering experience in the field of wireless technology, or a Master of
Science degree, or its equivalent, with approximately two years of design engineering experience
in the field of wireless technology.


1
 Phillips, 415 F.3d at 1313 (“The inquiry into how a person of ordinary skill in the art understands a claim term
provides an objective baseline from which to begin claim construction.”).
2
 Daiichi Sankyo Co. v. Apotex, Inc., 501 F.3d 1254, 1256 (Fed. Cir. 2007) (quoting Envtl. Designs, Ltd. v. Union
Oil Co., 713 F.2d 693, 696 (Fed. Cir. 1983)).


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IV.      OVERVIEW OF THE TECHNOLOGY RELATING TO THE ’222 PATENT
         The inventors filed the application for the 222 patent, entitled “Method and Apparatus for
Multiple Access Between Transceivers in Wireless Communications using OFDM Spread
Spectrum,” on March 31, 1992 and the PTO issued the patent on January 25, 1994. Today,
wideband OFDM communication systems are ubiquitous. We find them in our homes, offices,
restaurants, libraries, parks, airports, and even airplanes. But in 1992, when Michel Fattouche
and Hatim Zaghloul filed the application that led to the ’222 patent, their idea that wideband
OFDM technology could be used for efficient, effective, high-speed wireless networks was a
radical departure from the conventional wisdom in the field.         But history has shown that
Fattouche and Zaghloul were correct, and their ideas have paved the way for an entire generation
of wireless technology.
         The OFDM system taught and claimed in the ’222 patent places information on multiple,
orthogonal subcarriers, which is akin to placing multiple streams of cars in separate lanes on a
superhighway. Just as the separate streams of cars are able to travel the highway without
colliding, an OFDM system creates multiple streams of data that travel through the air, carried
by orthogonal subcarriers, without colliding. This general OFDM technology existed in 1992,
but it had not been adapted to widespread use as it has today. The inventors recognized that the
key to using OFDM in practical, real-world wireless networks was to build those networks
around wideband OFDM systems. They saw that if one chooses the number of subcarriers (i.e.,
the number of highway lanes) and the frequency spacing between those subcarriers (i.e., and
width of the highway lanes) appropriately, one can build inexpensive, efficient, high-speed
wireless networks using wideband OFDM technology. This new type of OFDM — wideband
OFDM — is what the inventors disclosed and claimed in their ’222 patent.




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 V.       PROPOSED CONSTRUCTIONS FOR THE ’222 PATENT
         A. Transceiver

          Claim Term            Wi-LAN’s Construction                Defendants’ Proposal

  transceiver                A two-way radio unit            transceiver that omits clock recovery,
                                                             carrier recovery, automatic gain control,
  [claims 1-3]
                                                             passband limiter, power amplifier, an
                                                             equalizer, and an interleaver-
                                                             deinterleaver

          Wi-LAN’s construction of “a two-way radio unit” is consistent with the intrinsic and
 extrinsic evidence. Indeed, all aspects of the invention described and claimed in the ’222 patent
 are directed at wireless communications (i.e., “radio frequency communication,” Ex. A, 1:51),
 which means the transceiver must necessarily be a radio unit. The title of the ’222 patent refers
 to the claimed invention as a “Method and Apparatus for Multiple Access Between Transceivers
 in Wireless Communications using OFDM Spread Spectrum.” (Ex. A, 1:2-5.) Similarly, the
 Field of the Invention states: “This invention relates to voice and data transmission in wireless
 communications, and particularly between fixed and portable transmitters and receivers.” (Id.,
 1:8-10.) The Background and Summary of the Invention also states that “to allow use of the
 radio frequency spectrum without obtaining a license in North America, the system must use a
 spread spectrum.…”      (Id., 1:50-52, emphasis added.)   FIG. 5b of the specification (which
 illustrates the transmitter portion of one embodiment of an W-OFDM system) further shows that
 a W-OFDM signal is modulated with information or data symbols to be transmitted and
 “upconverted to RF [radio frequency] frequencies using local oscillator 518 and transmitted by
 antenna 520.” (Id., FIG. 5, 9:30-32; annotations and emphasis added.)




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                                                              UPCONVERSION TO RF


          The specification of the ’222 patent expressly defines the term transceiver as a “radio
 unit” (Id., 1:43-44 (“One of the constraints of the system is that a transceiver, or portable radio
 unit must be small in size. The smaller the unit the better for portability….” (emphasis added).
 The specification further defines the transceiver as capable of two-way communication:
 “transceivers, each capable of transmitting and receiving information (voice, data, or video, in
 the form of electromagnetic signals.” (Id., 1:33-35.) The claims themselves also require this
 two-way capability for a transceiver. (See, e.g., id., claim 1 (“transceiver including a transmitter
 for transmitting … and a receiver for receiving”), claim 7 (“receiving … at the second
 transceiver”), claim 8 (“transmitting from the second transceiver”).) Wi-LAN’s construction is
 also consistent with the extrinsic evidence, including THE NEW IEEE STANDARD DICTIONARY OF
 ELECTRICAL        AND   ELECTRONIC TERMS (5th ed. 1993) which defines “transceiver” as “[t]he
 combination of radio transmitting and receiving equipment in a common housing, usually for
 portable or mobile use, and employing common circuit components for transmitting and
 receiving.” (Ex. C, pg. 1392, emphasis added.) Wi-LAN’s construction is also consistent with
 the understanding of a person of ordinary skill in the art. (Haimovich Decl., ¶45.)
          What defendants propose, on the other hand, is not helpful or proper. Defendants do not
 offer a construction for “transceiver,” but instead seek to read a number of limitations into the
 asserted claims of the ’222 patent by attempting to define the claimed transceiver as a
 “transceiver that omits clock recovery, carrier recovery, automatic gain control, passband



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 limiter, power amplifier, an equalizer, and an interleaver-deinterleaver.” Defendants rely on
 language from column 2 of the ’222 patent that states the “system omits …” the referenced
 elements. Such reliance is misplaced because it ignores the specific context in which this
 particular statement was made (the omissions are stated as “advantages of the present
 invention,” see Ex. A, 2:13, for “Reducing Analog Complexity,” see id., 12:44, not omissions
 required to practice W-OFDM). Such reliance is also misplaced because it ignores the entirety
 of the specification, including the claims themselves, which also make clear that these elements
 are optional (“not required”) not that they must be omitted to practice the patented W-OFDM
 invention. (See, generally, id., 12:51-13:64.) In other words, omission of each of these
 elements is taught as an advantage of W-OFDM, i.e., an option for reducing analog
 complexity that is made possible by W-OFDM.            Absent an express declaration by the
 patentee, it is improper to limit scope of the ’222 patent claims to only W-OFDM systems
 that omit these elements. Playtex Prods., Inc. v. Procter & Gamble Co., 400 F.3d 901, 908 (Fed.
 Cir. 2005). The inventors of the ’222 patent make no such declaration and, in fact, teach
 away from any such limitation.
          Not a single claim in the ’222 patent includes the requirement that these elements
 must be omitted from an W-OFDM system (see, e.g., independent claims 1 and 7)— indeed
 when these elements are mentioned in the claims they are either stated as “not required”
 (optional advantages for reducing analog complexity in a W-OFDM system) or are expressly
 included as structural elements (see claim 3). (Haimovich Decl., ¶¶49-52) What defendants
 propose is improper, as it seeks to require that the claimed W-OFDM transceiver must omit these
 elements to fall within the scope of the ’222 patent claims, even where the transceiver includes
 all limitations set forth in the claim (i.e., those elements required to enable the W-OFDM spread
 spectrum technology of the ’222 patent). (Idl., ¶¶49-52.) For example, independent claims 1
 and 7 include a limitation that carrier recovery and clock recovery are “not required” but not
 that they must be omitted. Claim 1 also states that carrier recovery and clock recovery are
 “not required” through the definition of “wideband frequency division multiplexer” (See
 Section V.C, infra which defines “wideband” by parameters that enable a W-OFDM system



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 “to be able to avoid using either a clock or a carrier recovery device without substantially
 affecting the BER”). As another example, claim 7 also contains an express recitation that
 these same elements are optional (“not required”) (Ex. A, 20:30-31 (“whereby the width of
 the frequency band is chosen so that neither carrier nor clock recovery is required at the
 second transceiver”).)
          As mentioned above, other claims in fact include the “omitted” elements. In claim 3,

 which depends from claim 1, the recited “power controller” functions as an automatic gain

 control and is expressly included as a structural element of the claim.               The “power

 controller” performs the function of “monitoring the power of the received signal and …
 controlling the power of the signal.” (Id., 19:44-48.) The same “power controller” (again,

 which defendants’ construction states should be omitted for a system that otherwise uses W-

 OFDM to fall within the scope of the patent) is in fact included (not omitted) in one of the

 described embodiments of a W-OFDM system. (See id., FIG. 5b, 9:36-39 (“The average

 power of the downconverted signal is monitored by a power controller 525 that adjusts the

 average power to the specifications required by the sampler 526.”).) One of ordinary skill in

 the art would recognize this aspect of the “power controller” to be “automatic gain control.”

 (Haimovich Decl., ¶51.)

          The specification also includes additional examples of W-OFDM embodiments with

 the “omitted” elements included. These examples (in addition to the “power controller”)

 include the following:
     •    With respect to the proposed omission of a “power amplifier,” the ’222 patent
          states that while the “power amplifier” is not necessary (Ex. A, 12:63-67), it also
          describes how a “power amplifier” may be used (id., 13:3-4 (“A class A PA can be
          used at the expense of power efficiency.”)). (Haimovich Decl., ¶¶50-51.)

     •    With respect to the proposed omission of an “interleaver-deinterleaver,” the ’222
          specification states that the function is not necessary when “predistortion” is used
          (Ex. A, 12:51-54) and that, otherwise, the “vocoder” implicitly applies
          “interleaving/deinterleaving” (id.). (Haimovich Decl., ¶¶50-51.)

          The defendants’ proposed construction of the term transceiver thus improperly seeks to

 read structural omissions as limitations in the asserted claims that directly contradict the written

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 description and claims of the patent. Wi-LAN’s proposed construction is consistent with the

 patent’s teachings and should be adopted.

         B. Amplitude and Phase Differential Characteristics

          Claim Term                 Wi-LAN’s Construction                 Defendants’ Proposal

  amplitude and phase            amplitude and phase distortions   amplitude and phase characteristics
  differential characteristics                                     resulting from differential modulation



          The terms “amplitude and phase differential characteristics” “amplitude and phase
 differential,” and “phase differential,” which are included in claims 1 and 4 of the ’222 patent in
 various forms, are implicitly defined throughout the specification and by the claims as referring
 to distortions of the amplitude and phase characteristics of a transmitted signal caused in
 transmission over a wireless channel. “[W]hen a patentee uses a claim term throughout the
 entire patent specification, in a manner consistent with only a single meaning, he has defined that
 term ‘by implication.’” Bell Atl. Network Servs. v. Covad Communs. Group, 262, F.3d 1258,
 1271 (Fed. Cir. 2001).
          The ’222 patent explains that when an electromagnetic signal is transmitted through a
 wireless channel to a receiver, such as when a wireless router transmits information to a laptop
 computer in a wireless network, the amplitude and phase of the received signal will be different
 than those of the transmitted signal—that is, there will be a “differential” between the amplitude
 and phase characteristics of the transmitted and received signals. This differential refers to the
 distortions that affect the signal as it travels over the air between the transmitter and receiver.
 (Haimovich Decl., ¶¶53-54.) Examples of distorting effects discussed in the ’222 patent
 include:

               •   Multipath Interference. Upon entering the wireless channel, the
                   electromagnetic signal can encounter physical barriers (e.g., walls, ceilings,
                   buildings) that reflect the signal as it makes its way to the receiver. The end
                   result is that multiple copies of the signal, traveling along paths of different
                   lengths, arrive at the receiver at different times and interfere with one another.
                   This distorting effect is commonly referred to as “multipath.” (See, e.g., Ex.
                   A, 7:60-64 (“…a consequence of the multipath nature of the channel …”)
                   emphasis added; Haimovich Decl., ¶¶17-19.);


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               •   Doppler Shift. If the transmitter and receiver are moving with respect to one
                   another (e.g., as an automobile carrying a passenger using a cellular phone is
                   moving with respect to a stationary communications tower), the relative
                   motion will induce a phase and frequency distortion between the transmitted
                   and received signal, commonly referred to as a “Doppler shift.”3 The received
                   signal will have a different frequency than the transmitted signal. (See, e.g.,
                   Ex. A, 6:9-21 (“When there is relative motion between the transmitting
                   transceiver and the receiving transceiver, a Doppler shift occurs with a
                   maximum absolute value |V/λ| … Such a Doppler shift causes a sampling
                   error in the frequency domain…”); Haimovich Decl., ¶¶17-19, 32.);

               •   Fading. In a wideband system, as the electromagnetic signal travels through
                   the wireless channel, it experiences inconsistent fading across its frequency
                   band, resulting in both amplitude and phase distortions in the received signal.
                   (See, e.g., Ex. A, 7:15-17 (“Wideband OFDM forces the channel to be
                   frequency selective and causes two types of linear distortion: amplitude
                   distortion and phase distortion.” (emphasis added)); 13:45-53 (“One
                   advantage of wideband modulation over narrowband modulation is that the
                   wideband signal does not experience short term fading the same way the
                   narrowband one does. The wideband signal is mainly affected by shadowing
                   and other long term effects which vary slowly and are easily monitored …”);
                   Haimovich Decl., ¶¶17-19.)

          To deal with the amplitude and phase distortions introduced by the wireless channel, the
 W-OFDM system of the ’222 patent provides a mechanism for correcting these distortions by
 pre-distorting the signal (at the transmitter) or post-distorting the signal (at the receiver) so that
 transmitted information or data symbols modulated on the signal can be correctly recovered.
 (See Ex. A, 3:13-18 (“Advantages of the invention include: … If data is to be exchanged, as
 opposed to voice, the transceiver preferably contains an estimator to allow pre-distortion and
 post-distortion of the transmitted signal.”).) This mechanism is referred to in the patent
 specification and claims as a “channel estimator,” (“A channel estimator for estimating one or
 both of the amplitude or phase differential of the received signal ….”, see id. claim 1) whose
 operation is described in detail in FIG. 7a and 7b and in columns 10-12 (10:58-12:42), and
 further discussed in Section V.D, infra.
          In one embodiment, shown below in FIG. 5b, the channel estimator 530 in the receiver
 applies an algorithm to the received signal to estimate, or approximate, the amplitude and/or

 3
   We experience a similar, related phenomenon when hearing the pitch of a train whistle vary (i.e., distort) as the
 train moves toward and then away from us.


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 phase distortions induced by the wireless channel for use in post-distorting the signal to reverse
 the distortion effects of the channel for the demodulator/decoder 532.




                                                                                 Post-distortion

                                                                               Channel estimator
                                                                                 Pre-distortion




                   An estimate of the phase differential of the received signal is taken
                   in the channel estimator 530, as described in more detail in relation
                   to FIG. 7a and 7b below, and the estimated phase differential is
                   supplied [for post-distortion of the received signal before
                   demodulation] to a decoder-demodulator 532 to correct the
                   received bits.

 (Id., FIG. 5B and 9:43-48 (annotations and emphasis added)). In another embodiment shown in

 FIG. 5b, the channel estimator 530 estimates the distortion over the wireless channel and “pre-

 distorts” the transmitted signal in a pre-distorter 534 so that the signal at the receiver will be

 “undistorted”:

                   The predistorter 534 receives a signal corresponding to the
                   estimated phase differential of the channel. On the (believed
                   reasonable) assumption that the channel is reciprocal, the signal
                   being transmitted is predistorted with the estimated phase
                   differential so that the received signal at the portable with which
                   the BS is communicating will be corrected for any phase distortion
                   over the channel.



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                   “[A] predistorted signal, transmitted by the BS, should reach the
                   portable undistorted.”

          (Id., 9:56-61 and 8:47-61 (emphasis added.) Thus, as demonstrated above, the terms
 “amplitude and phase differential characteristics” “amplitude and phase differential,” and “phase
 differential” (and variants thereof) in claims 1 and 4 are used in the specification of the ’222
 patent to describe the distorting effects of the wireless channel on a transmitted signal. (See, e.g,,
 Id., 6:9-21, 7:15-17, 7:60-64 and 13:45-53.) The claims themselves further demonstrate that Wi-
 LAN’s proposed construction is the proper construction. Claim 4 (which depends from claim 1
 and the recited “channel estimator”) recites “a pre-distorter … connected to the channel
 estimator, for pre-distorting a signal to be transmitted with one or both of the estimated
 amplitude and/or the estimated phase differential.” Wi-LAN’s proposed construction is correct
 because it recognizes that the amplitude and phase differential referenced in the claims is the
 amplitude and phase distortion imparted by the wireless channel.
          The defendants’ proposed construction, however, seeks to redefine these terms in a
 nonsensical fashion and, further, improperly seeks to read limitations into the claims. The
 defendants do so by adding the limitation that the amplitude and phase differential characteristics
 of the received signal are “resulting from differential modulation.” This addition contradicts
 the explicit teachings of the specification and claims which makes a clear distinction between
 a modulation scheme, such as differential modulation, which differentially encodes
 information or data symbols onto signals to be transmitted, and the distorting effects of the
 wireless channel on the phase and amplitude characteristic of the transmitted signals.
          A fundamental flaw in the defendants’ construction is that it confuses two processes
 that are conceptually and physically separate: transmission through the wireless channel and
 modulation. Modulation is a part of the process of creating the electromagnetic signals that
 will be transmitted, and modulation must be complete before transmission can occur. (See,
 generally, id., FIG. 5b, 9:25-32; annotations and emphasis added.)




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          emphasis added.)
                   modulation


 Thus, the distortions imparted during transmission through the wireless channel―to which

 the disputed claim term is directed―are unrelated to the particular modulation scheme used

 to prepare signals for transmission.

          The “resulting from differential modulation” component of the defendants’

 construction is a reference to the differential phase-shift keying modulation embodiment

 described in the ’222 patent (id., 5:31-35), in which information or data symbols are

 represented by phase differentials between adjacent signals (or data symbols). Importantly,

 however, any phase differentials imparted by the modulation process are part of the signal or

 signals transmitted are but wholly separate from the distortions that the wireless channel

 inflicts on the transmitted signal. The claim language at issue references the difference

 between the signal transmitted and the signal received; it is not concerned with the way in

 which the transmitted signal or signals were constructed (i.e., modulated to carry data

 symbols). Thus, the defendants’ construction is directed to a modulation process separate

 and distinct from the process that gives rise to the recited “amplitude and phase differential

 characteristics” and, as such, cannot be correct.

          Even assuming that there was some relationship between “amplitude and phase

 differential characteristics” and defendants’ modulation scheme, defendants proposal is

 misplaced because it seeks to import a limitation from the specification without an express

 teaching to do so. As mentioned above, absent an express disclaimer by the patentee, it is

 improper to limit claim terms to preferred embodiments. Playtex Prods., 400 F.3d at 908.

 This is a result that the inventors clearly did not intend, as they described other forms of

 modulation, including “quadrature amplitude modulation,” that are not differential encoding and

 the teachings in the patent for W-OFDM are applicable to both differential and non-differential

 modulation/encoding schemes. (Ex. A, 7:23-28; see also Haimovich Decl., ¶¶28-32, 37-38, 86-

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         4
 89.)         n addition, the claims are not limited to differential encoding. Indeed, claim 1 estimates

 the amplitude and/or phase distortions of a received OFDM symbol: “a channel estimator for

 estimating one or both of the amplitude and the phase differential of the received signal ….” (Ex.

 A, 19:32-35.) The preferred differential phase shift keying modulation scheme varies only the

 phase of a signal, but other disclosed embodiments, including quadrature amplitude modulation,

 vary the amplitude. (Id., 7:22-27.)
             C. Wideband Frequency Division Multiplexer

             Claim Term                 Wi-LAN’s Construction                      Defendants’ Proposal

     wideband frequency division    a device for placing information       a multiplexer for multiplexing the
     multiplexer for multiplexing   onto a number of frequencies (K)       information onto frequency channels
     information onto wideband      having a frequency range between       with a K and a Δf large enough to be
     frequency channels             the frequencies (∆f),both large        able to achieve a specific throughput
                                    enough to be able to achieve a         and large enough to be able to avoid
                                    specific throughput and large          using either a clock or a carrier recovery
                                    enough to be able to avoid using       device without substantially affecting
                                    either a clock or a carrier recovery   the BER
                                    device without substantially
                                    affecting the BER


              The parties’ proposed constructions for “wideband frequency division multiplexer” are

 not significantly different and derive from an explicit definition provided for in the specification,

 more specifically, from the following passages of the ’222 patent:

                   Wideband in this patent document is described in the context of
                   Wideband-Orthogonal Frequency Domain Modulation (W-OFDM or
                   wideband OFDM). In OFDM, the entire available bandwidth B is
                   divided into a number of points K [frequencies], where adjacent points
                   are separated by a frequency band [range] ∆f, that is B = K∆f.

                                                         ****

                   In wideband OFDM, both K and ∆f are selected sufficiently large to
                   achieve a high throughput as well as reduce the effects on the BER [bit
                   error rate] of the clock error, the Doppler shift and the frequency offset

 4
    The distinction between distortions induced by the wireless channel and modulation is also manifest in the
 prosecution history too. In the original application, originally filed claim 5 adds to the claimed modulation step of
 “multiplexing a first frame of information over a number of frequencies within a wideband frequency range at a first
 transceiver” the limitation “in which each frame of information is differentially encoded.” (Ex. B, W0000536)
 (emphasis added).


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                   between the LO [local oscillator] in the transmitter and the one in the
                   receiver.

                                                        ****

                   In summary, OFDM with a K and a ∆f large enough to be able to
                   achieve a specific throughput and large enough to be able to avoid
                   using either a clock or a carrier recovery device without substantially
                   affecting the BER is referred to here as Wideband-OFDM.

 (Ex. A, 5:24-29, 55-59, and 6: 30-34, emphasis added.) See Edwards Lifesciences LLC v. Cook,

 Inc., 582 F.1322, 1329 (Fed. Cir. 2009). (“[T]he court will adopt a definition that is different

 from the ordinary meaning when the patentee acted as his own lexicographer and clearly set

 forth a definition of the disputed claim term in either the specification or prosecution history.”)

 The minor differences between the parties proposals are highlighted in the following breakdown:

          Wi-LAN                                              Defendants
          a device for placing information onto               a multiplexer for multiplexing the information
                                                              onto
          a number of frequencies (K) having a frequency      frequency channels with a K and a Δf
          range between the frequencies (∆f), both
          large enough to be able to achieve a specific       large enough to be able to achieve a specific
          throughput and large enough to be able to avoid     throughput and large enough to be able to
          using either a clock or a carrier recovery device   avoid using either a clock or a carrier recovery
          without substantially affecting the BER             device without substantially affecting the BER


          As is readily apparent, the differences between the parties lie in the first and second

 segments of the proposed constructions. The proposals for the third segment of the construction

 (derived from the term “wideband”) are identical. The differences in the first two portions stem

 from the construction of the term “frequency division multiplexer” that “wideband” modifies.

          One of ordinary skill in the art would interpret “frequency division multiplexer” to be “a

 device for placing information onto a number of frequencies.”                          (Haimovich Decl., ¶65.)

 “Frequency division muliplexing” is a method for transmitting information in parallel in the

 frequency domain by placing information onto a number of frequencies. (Id.) This meaning is

 consistent with the teachings of the specification, as illustrated by the following description of

 one embodiment of a wideband OFDM system: “To implement wideband modulation in a

 cellular system with a plurality of portables and one or more base stations, a 100 MHz band [B]

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 is divided into 4096 points [or frequencies, K], as shown in FIG. 2, plus two tail slots of 195.3

 KHz each. The 4096 points represent N voice channels (vc). Adjacent points are separated by

 24.414 KHz [∆f ] …. FIG. 2 shows that N vc can be transmitted simultaneously. This is known

 as Frequency Division Multiple Access” (Ex. A, 7:28-33, 8:13-15.) FIG. 2 is reproduced below.




          As for the second segment of Wi-LAN’s proposed construction, the difference between
 the parties is that Wi-LAN defines K and ∆f and defendants do not. Wi-LAN believes such
 definitions are helpful to understand the claim language. The above-quoted language from the
 specification describes information or data being placed onto frequency channels (or highway
 lanes) comprised of a number of frequencies (K) where the frequencies are each separated by a
 frequency range (∆f): “[i]n OFDM, the entire available bandwidth B is divided into a number of
 points K, where adjacent points are separated by a frequency band ∆f, that is B = K∆f” (Ex. A,
 5:26-29.) FIG. 2 depicts the concept. The inclusion of the definitions of K (“a number of
 frequencies”) and ∆f (“frequency range between the frequencies”) are required to properly
 clarify the meaning of this limitation to a layperson and should be included in the construction.




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         D. Channel Estimator

          Claim Term                  Wi-LAN’s Construction                 Defendants’ Proposal
                                                                    whole phrase: a channel estimator for
  a channel estimator for         channel estimator: a device for
                                                                    estimating one or both of the amplitude
  estimating one or both of the   computing the amplitude and/or
                                                                    and the phase differential of the received
  amplitude and the phase         phase distortions of a received
                                                                    signals to produce as output one or both of
  differential of the received    signal
                                                                    the difference in amplitude or phase
  signal to produce as output
                                                                    between received data symbols
  one or both of an estimated
  amplitude and an estimated
  phase differential                                                channel estimator: a device for
  respectively                                                      estimating one or both of the amplitude
                                                                    and the phase differential of the received
                                                                    signals to produce as output one or both of
                                                                    the difference in amplitude or phase
                                                                    between received data symbols

          The “channel estimator” limitation of claim 1 incorporates versions of the term
 “amplitude and phase differential” that finds its antecedent basis in the preamble as “amplitude
 and phase differential characteristics” of the received signal. These terms are already the subject
 of construction in Section V.B, supra.             Defendants’ construction simply parrots the claim
 language with one exception―defendants seek to reargue the meaning of these same terms again
 in the context of the “channel estimator” limitation. Wi-LAN has proposed the term “channel
 estimator” as the only term in this limitation requiring construction. Wi-LAN’s proposal is the
 proper construction because the only other terms of this limitation that require construction are
 the amplitude and phase differential terms, which as stated above, are already the subject of
 construction in Section V.B, supra.
          As discussed in Section V.B, the “channel estimator” taught in the specification of the
 ’222 patent is the mechanism by which the amplitude and phase distortions that result from
 transmission of electromagnetic signals across a wideband frequency channel are “estimated”
 and corrected. The function of the “channel estimator” is clearly spelled out to estimate the
 “amplitude and phase differential” and to produce as an output “an estimated amplitude and
 an estimated phase differential” (see Ex. A, claim 1) for use, for example, in “a pre-distorter
 … connected to the channel estimator, for pre-distorting a signal to be transmitted with one
 or both of the estimated amplitude or the estimated phase differential.” (See id., claim 4.)
 Thus, as explained in detail in Section V.B, the term “amplitude and phase differential” (and



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 variations thereof in the “channel estimator” limitation) represent distortions in the received
 signal inflicted by a wireless channel, not a “difference in amplitude or phase between received
 data symbols,” as defendants propose in their construction.
          As in Section V.B, the fundamental flaw in defendants’ construction is that it again
 confuses two processes that are conceptually and physically separate in attempt to read
 limitations into the asserted claims. Channel estimation of the wireless channel (which
 determines the amplitude and phase distortions in a received signal in order to provide an
 estimated amplitude or phase differential to the demodulator and a pre-distorter) is distinct
 and separate from the process of demodulation of the signal. Demodulation is a part of the
 process of recovering the user information encoded in the “difference in amplitude or phase
 between received data symbols” after correction for wireless channel-induced phase distortions.
 (Haimovich Decl., ¶72.) The distinction between the two processes (the process of channel
 estimation and pre-distortion/post-distortion and the process of demodulation) is illustrated
 below in FIG. 5b and further described in the specification: “An estimate of the phase
 differential of the received signal is taken in the channel estimator 530, as described in more
 detail in relation to FIGS. 7a and 7b below, and the estimated phase differential is supplied
 [for post-distortion of the signal] to a decoder-demodulator 532 to correct the received bits.
 The estimate phase differential is also supplied to a pre-distorter 534 in the transmitter.”
 (Ex. A, 9:43-49 and FIG. 5B; annotations and emphasis added.)




                                                                             Post-distortion

                                                                           Channel estimator

                                                                               Pre-distortion




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               Thus, only the term in channel estimator limitation requiring construction is the
 “channel estimator” itself. Wi-LAN’s proposed construction of channel estimator (“a device
 for computing the amplitude and/or phase distortions of a received signal”) is consistent with
 both the claim language and the passages figures from the specification discussed above, and
 also with the channel estimation process disclosed in columns 10-12 of the specification and in
 FIGS. 7a and 7b. (See, e.g., Ex. A, 10:58-60 (“FIG. 7a shows a block diagram … of a preferred
 channel estimator … [e]ach of the steps is carried out in a computing means …” (emphasis
 added)) see also Section V.B, supra. )5

              E. Points

              Claim Term             Wi-LAN’s Construction                 Defendants’ Proposal

     points                      frequencies                       divisions within a frame corresponding to
                                                                   one information symbol each


               The term “points” is recited in claim 7 of the ’222 patent.           Wi-LAN’s proposal
 (“frequencies”) for the term is the proper construction because it is consistent with the claim
 language and the intrinsic record. The defendants’ proposal contradicts the language of the
 claim itself and the teaching of the specification.
               In addition to appearing in claim 7 of the ’222 patent, the term “points” is used
 throughout the specification of the patent in a consistent manner. The claims and the written
 description of the ’222 patent make clear that “points” are the individual frequencies into
 which a wideband frequency band or channel is divided and over which information or data
 symbols are multiplexed for transmission in a W-OFDM system.                        (See, e.g., Claim 7
 (“multiplexing a first frame of information over a number of frequencies within a frequency
 band at a first transceiver … in which the frequency band is formed from a first set of K1
 points and a pair of tail slots each having K2 points, each of the points being separated by a
 frequency range of Δf”) (emphasis added).) The language of claim 7 recites that “the

 frequency band” (onto which information is multiplexed) is formed from “a first set of K1

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   Wi-LAN’s construction is also consistent with the understanding of a person of ordinary skill in the art,
 (Haimovich Decl., ¶¶__.)


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 points” with each of “the points being separated by a frequency range of Δf.” This language
 plainly defines “points” as frequencies within a “frequency band” separated by a frequency range
 of Δf.
           The embodiments of a W-OFDM system presented in the written description are
 consistent with this meaning: “In OFDM, the entire available bandwidth B is divided into a
 number of points K, where adjacent points are separated by a frequency band Δf, that is B=K
 Δf.” (Id., 5:26-28; 17:17-19.) FIG. 2 illustrates the “points” as “frequencies” and shows K1
 points (4096 points) within a frequency band over which a frame of information is multiplexed
 and a pair of tail slots having K2 points (or frequencies), each point being separated by a range
 Δf of 24.414 KHz (with the multiple points of the tail slot spread across 195.3KHz) (emphasis
 added):




           The proposal by defendants of “divisions within a frame corresponding to one
 information symbol each” attempts to directly equate “frames of information” with “points” (or
 frequencies) over which the frames of information are multiplexed—a correlation that does not
 exist in the claims (specifically claim 7, as these terms are treated as distinct elements of the
 claim).     It’s also a correlation that contradicts the language of the claim and the written
 description. As recited in claim 7, the “frequency band” is composed of “K1 points and a pair of
 tail slots each having K2 points.” Under the defendants’ construction, each of the “points” in the
 “tail slots” would correspond to “an information symbol” or data symbol. However, the “tail
 slots” taught in the ’222 patent are outside of the frame of information and could not correspond


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 to “an information symbol.” This illustrated in FIG. 2, which shows the “tail slots” on the ends
 being discrete and apart from the 4096 “points” that make up the “frame” (annotation and
 emphasis added):

                               Tail Slots Outside of Information Frame




           The distinction between points for the frame and points for the tail slots is further made
 clear in the following portion of the written description: “The K points are grouped into a frame
 of K1 points and two tail slots of K2 points each, so that K=K1 +2K2.” (Id., 5:29-31, emphasis
 added.)       The defendants’ proposed construction (which seeks to equate points and frames of
 information as one in the same) excludes a preferred embodiment and, as such, is not proper.
 See Sandisk Corp. v. Memorex Products, Inc., 415 F.3d 1278, 1285 (Fed. Cir. 2005).

         F. Tail Slots

          Claim Term               Wi-LAN’s Construction                      Defendants’ Proposal

  tail slots                   groups of frequencies that act as     divisions within a frame that act as a
                               guard bands to reduce power outside   guard band
                               of the frequency band

           The term “tail slots” is also recited in claim 7 of the ’222 patent. The parties dispute
 whether the construction should begin with “groups of frequencies” as Wi-LAN contends, or
 with “divisions within a frame” as defendants contend. For the same reasons presented
 above in Section V.E defendants’ construction of tail slots (“divisions within a frame that act
 as a guard band”) improperly equates frames of information with points or frequences, when
 these are two distinct things (tail slots are groups of frequencies outside of the frame).


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          Claim 7 utilizes tail slots in the following context: “the frequency band is formed from
 a first set of K1 points and a pair of tail slots each having K2 points.” The tail slots are
 composed of “points.” The points are, for each of the reasons set forth in Section V.E, supra,
 “frequencies.” The tail slots are, as shown in FIG. 2 (shown above) and FIG. 10, outside and
 apart from the points that comprise a frame of information. The tail slots are comprised of
 multiple points or “groups of points” as set forth in Wi-LAN’s proposed construction. (See
 Ex. A, FIG. 2 and 7:57-60.)                 For these reasons, Wi-LAN’s proposal for “groups of
 frequencies” for tail slots is proper, and defendants’ proposal of “divisions within a frame” is
 not. .
          The remaining parts of the parties’ proposed constructions are not dissimilar. The parties
 agree that the tail slots act as “guard bands,” with Wi-LAN’s proposal providing clarification as
 to the function of the “guard bands”—to reduce power outside of the frequency band.6 As set
 forth in the supporting declaration of Dr. Haimovich, wireless communications systems of the
 type disclosed in the ’222 patent will transmit within a given frequency band. (Haimovich Decl.,
 ¶78.) However, because no system is perfect, there is typically some degree of “spill over” from
 the signal within the frequency band to outside of the frequency band. (Id. ¶78.) The ’222
 patent describes how the effect of this “spill over” can be reduced by incorporating “tail slots” at
 the boundaries of the frequency band:

                   The two tail slots act as guard bands to ensure that the out-of-band
                   signal is below a certain power level. For example, when a pulse
                   P(f) is selected for pulse shaping and the out-of-band signal has to
                   be ydB or less relative to the in-band signal, K2 is selected such
                   that 20.log10 |P(f)/P(0)| ≤ for f ≥ K2 Δf.

                                                         ****




          6
             As the ‘222 patent further discloses, the ability to control the power level outside of the frequency band is
 critical for meeting the radio regulatory requirements of a given jurisdiction (e.g., FCC regulation):
 Also, to allow use of the radio frequency spectrum without obtaining a license in North America, the system must
 use a spread spectrum and satisfy federal regulations. In part, these regulations impose limits on the power and the
 frequency spread of the signals exchanged between the transceivers. An object of an aspect of this invention is to
 satisfy those requirements. (Id., 1:50-56.)


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                   The two tail slots [in FIG. 2] of 195.3 KHz each (i.e. 8 points each)
                   ensure that the signal outside the entire band of 100.39 MHz is
                   below - 50 dB.
                   (Ex. A, 5:35-37 and 7:57-60.)

         G. A Number M of Levels

          Claim Term                Wi-LAN’s Construction                    Defendants’ Proposal

  the second transceiver has a   a number M of levels: a number of   the second transceiver has a maximum
  maximum expected clock         distinct phases                     expected clock error χT, where T is the
  error χT, where T is the                                           duration of one time domain sample equal
  duration of one time domain                                        to 1/(K1∆f), using multilevel differential
  sample, the information is                                         phase shift keying with M levels to
  multiplexed over a number                                          multiplex the information, where K1 is
  M of levels, and K1 selected                                       selected such that 2πχ/K1<π/M
  such that 2πχ/K1<π/M
  [claims 7-9]

          This limitation of the ’222 patent incorporates several terms that the parties have
 identified for construction. For the term χT ( the maximum expected clock error), the parties
 have agreed upon a construction that will be included in the parties’ P.R. 4-5(d) submission to
 the Court. For the phrase “T is the duration of one time domain sample” the defendants seek a
 construction that restates the claim language and adds the limitation “equal to 1/(K1∆f).” The
 defendant’s construction of “T is the duration of one time domain sample” is wrong because it
 attempts to add a limitation from a preferred embodiment to well-defined claim language.
          The parties both seek construction of the phrase “a number M of levels” used for
 modulating the information (or data symbols) recited in the claims.                  Wi-LAN proposes a
 construction (“a number of distinct phases”) that is consistent with the language of the claim and
 with the intrinsic record.       As with a number of their constructions, defendants propose a
 construction of “a number of M levels” that improperly seeks to import limitations into the
 claims from an embodiment in the specification, namely a specific modulation scheme
 (“using multilevel differential phase shift keying”). This is improper and should be rejected.
 The ’222 patent describes other (non-differential) modulation schemes, including QAM (i.e.,
 quadrature amplitude modulation) and the teachings of the ‘222 patent apply equally to
 differential and non-differential modulation schemes. (See Ex. A, 7:25-28 and 19:32-35;
 Haimovich Decl., ¶¶28-32, 37-38, 86-88.)             Indeed, a common thread in these modulation

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 schemes is that information or data symbols are encoded using different phases or (in the case of
 differential modulation) the difference in phases among adjacent signals or frequencies used for
 transmission. (Id., ¶¶86-88.) Any number of phases can selected from 0 degrees to 360 degrees
 (2π) for encoding data symbols. (Id.) The following diagram illustrates the concept of phase
 modulation with four different phases used to encode the data symbols, each phase encoding a
 different data symbol:




 See also Ex. A, 7:33-39 (“… Φ(n) takes one of the eight values {0, 2π/8, 4 π /8, . . . 14 π

 /8}…”).) However, the inventors discovered that phase distortions induced during transmission

 or during processing at the receiver can rotate (distort) the phases of such signals or frequencies

 leaving the receiver unable to recover the encoded data symbols during demodulation (e.g., 2π/4

 can be rotated in phase to look like 4π/4 in the above illustration). The ‘222 patent describes

 how a sampling clock error at the receiver will induce such a shift in the phase of a received

 signal during processing. (Ex. A, 5:65-67, 13:5-7; see also Haimovich Decl., ¶¶86-88.)
          Claim 7 is directed to a method for dealing such phase-induced clock error. As quoted
 above, claim 7 includes a formula (2πχ/K1<π/M) that, if followed, protects a receiver from clock
 error-induced phase distortions. (See Ex. A, 5:65 to 6:l-8 and 7:3-10.) The inventors discovered
 that by selecting an appropriate number of phase levels M for encoding data symbols at the
 transmitter and an appropriate number of number of frequencies K1 (highways lanes) for
 transmitting such phase encoded data symbols (whether differential or non-differentially phase

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 encoded) the effects of phase distortions induced by an expected sample clock error can be
 minimized. (Haimovich Decl., ¶¶86-88.) Accordingly, Wi-LAN’s construction of a “number M
 of levels”—a number of distinct phases—is consistent with the claim language and the teachings
 of the ‘222 patent regarding the recited formula.
          As discussed above, the defendants’ proposal for “a number of M levels” does not
 actually construe the term but again tries to import a modulation scheme limitation from the
 specification, namely “using multilevel differential phase shift keying.” As discussed in Section
 x.B, supra, in the context of defendants’ attempts to import the limitation “resulting from
 differential modulation” into the term “amplitude and phase differential characteristics” (and
 variations thereof), the specification and prosecution history run counter to any notion that the
 inventors intended to have their claims limited to any specific form of data symbol
 encoding/modulation. There is no declaration (express or otherwise) that the inventors intended
 the W-OFDM invention of the ’222 patent to be so limited.
          Similarly, the defendants do not actually construe “T is the duration of one time domain
 sample,” a term that is well-defined in the plain language of the claim, but instead attempt to
 limit the term to the preferred embodiment with the addition of “equal to 1/(K1∆f).” Once again,
 there is no declaration that the inventors intended the invention to be so limited.

         H. Carrier Recovery / Clock Recovery

          Claim Term             Wi-LAN’s Construction                        Defendants’ Proposal

  carrier recovery           synchronizing the local oscillator to   recovery of the carrier signal
                             the carrier frequency of the received
                             signal

  clock recovery             synchronizing the sampling clock to     recovery of the clock
                             the timing of the received signal


          The terms “carrier recovery” and “clock recovery” are recited in claim 7 of the ’222
 patent and in the parties’ proposed constructions for the “wideband frequency division
 multiplexer” limitation of claim 1. See Section V.C, supra. Wi-LAN’s proposal construes these
 terms in accordance with the intrinsic record and extrinsic support. The defendants’ proposal is
 unhelpful because it merely rearranges the words in the terms.


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          “Carrier recovery” and “clock recovery” are used in the ’222 patent to mean
 “synchronizing the local oscillator …” and “synchronizing the sampling clock …” to the carrier
 frequency and timing of the received signal, respectfully. The terms are implicitly defined in the
 context of the prior art receiver shown in FIG. 1b, excerpted and reproduced below.

          .




                                                                                 Clock
                                                                                 Recovery
                   Carrier
                   Recovery




 The annotated figure shows the frequency (e-j2πfct) of the LO (local oscillator) being synchronized

 to the carrier frequency of the received signal through the carrier recovery device 132.

 (Haimovich Decl., ¶¶90-93.) The figure also shows the incoming signal being downconverted

 using the frequency generated by the LO before filtering and further processing. (Id.) The

 converse process occurs at the transmitter — the signal to be transmitted is upconverted by the

 frequency generated by the transmitter’s LO (local oscillator). (Id., ¶¶12, 90-93.) When the

 local oscillator is synchronized to the carrier frequency of the received signal using carrier

 recovery, the difference (or frequency offset) between the LO frequency used to upconvert (at

 the transmitter) and the LO frequency used to downconvert (at the receiver) is minimized,

 resulting in the downconverted signal having the appropriate frequency characteristics for

 deprocessing and demodulation. (Id., ¶¶90-93.)
          Similarly, the annotated figure shows the sampling clock 134 being synchronized to the
 timing of the received signal through clock recovery.        (Id.)   When the sampling clock is
 synchronized to the timing of the received signal using clock recovery, the difference (or clock

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 error) between the timing (frequency) in the transmitter (and, consequently in the transmitted
 signal) and the sampling frequency in the receiver is minimized, resulting in the sampled signal
 at the receiver having the appropriate frequency characteristics for deprocessing and
 demodulation. (Id., ¶¶101-104)
          This figure serves to implicitly define “carrier recovery” and “clock recovery,” Bell Atl.
 Network Servs., Inc. v. Covad Comm. Group, Inc., 262 F.3d 1258, 1271 (Fed. Cir. 2001), in a
 manner that is consistent with the understanding of one ordinary skill in the art and with the
 extrinsic evidence. Authoritative textbooks confirm that “carrier recovery” is synchronizing the
 local oscillator to the carrier frequency of the received signal, and that “clock recovery” is
 synchronizing the sampling clock to the timing of the received signal. For example, the textbook
 Synchronization in Digital Communications provides the following definitions for clock
 recovery and carrier recovery and notes that “clock synchronization” is “[a]lso called
 timing/clock recovery or symbol/bit synchronization” (Ex. D., pg. 5) :

                   Clock synchronization. The function of adjusting the clock of the
                   receiver, which controls the sampling of the input signal, to the
                   clock of the transmitter running at symbol rate
                   Carrier synchronization. The function of aligning the phase and
                   frequency of the receiver oscillator with that of the transmitter
                   oscillator if the bit stream is modulated onto a carrier.
                   (Id., pg. xiii.)

          The textbook Electronic Communication Systems (“the Tomasi textbook”) also teaches
 that carrier recovery is synchronizing the local oscillator and clock recovery is synchronizing the
 sampling clock as proposed in Wi-LAN’s constructions:

                   Clock Recovery … As with any digital system, digital radio
                   requires precise timing or clock synchronization between the
                   transmit and the receive circuitry. Because of this, it is necessary
                   to regenerate clocks at the receiver that are synchronous with those
                   at the transmitter.
                                                  ****
                   Carrier Recovery … To determine the absolute phase of the
                   received signal, it is necessary to reproduce a carrier [frequency] at
                   the receiver that is phase coherent with the transmit reference
                   oscillator.”


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 (Ex. E, pg. 529 and 532; Haimovich Decl., ¶¶95, 108.) Finally, the treatise by the defendants’

 own expert, John G. Proakis, Digital Communications (“the Proakis textbook”), teaches that

 carrier synchronization (a term used interchangeably with carrier recovery in his book7) “allows

 the receiver to extract and, thus, to synchronize its local oscillator to the carrier frequency of the

 phase of the received signal.” (Ex. F, pg. 304.) The Proakis textbook also teaches that clock

 recovery is synchronizing the sampling clock, referring to clock recovery as “symbol

 synchronization.” The “Carrier and Symbol Synchronization” section notes that “symbol timing

 must be derived from the received signal for both coherent and noncoherent modulation in order

 to synchronously sample… at the proper instant.” (Id., pg. 303.)
            Wi-LAN proposes constructions for “clock recovery” and “carrier recovery” because
 they are technical terms with specific meanings to one of ordinary skill in the art, whereas
 defendants avoid construction by merely rearranging the words and thus defendants’
 construction should be rejected.

           I. Out of Band Signal

            Claim Term                    Wi-LAN’s Construction                   Defendants’ Proposal
     the method of claim 7 in                                             whole phrase: invalid for failure to meet
                                      out of band signal: power outside
     which K2 is selected so that                                         35 U.S.C. § 112
                                      the frequency band
     the out of band signal is less
     than a given level                                                   out of band signal: invalid for failure to
     [claim 9]                                                            meet 35 U.S.C. § 112


            Wi-LAN proposes a construction for the term “out of band signal” that is consistent with
 the intrinsic record, and Defendants do not. Defendants contend instead that this is definite. 8




 7
   For example, a carrier synchronization method described on page 305 appears as “carrier recovery” in
 accompanying Fig. 4.5.1 on page 306. Also, looking up the term “carrier recovery” in the index on pg. 896 directs
 one to the “carrier synchronization” section.
 8
   Defendants’ argue that this term (“out of band signal”) renders claim 9 indefinite and invalid. However, patents
 are presumed valid under 35 U.S.C. § 282, and Defendants must demonstrate by clear and convincing evidence that
 the patent is invalid. See ICU Med., Inc. v. Alaris Med. Sys., 558 F.3d 1368, 1376 (Fed. Cir. 2009). Because it is
 Defendants’ burden to overcome this strong presumption, Wi-LAN will not further address Defendants’ invalidity
 arguments, including because Defendants have provided Wi-LAN with no basis for such arguments in its invalidity
 contentions or otherwise and thus such arguments are not properly raised.


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          As an initial matter, the express language of the claim and the teachings of the
 specification make clear the meaning of the term “out of band signal.” As discussed in Section
 V.F, supra, with respect to “tail slots,” one aspect of the invention is to be able to spread signals
 across a frequency band for transmission, while maintaining regulatory-imposed power levels,
 both within the frequency band for which the signals are intended for transmission and outside of
 that frequency band. (See, e.g., Ex. A, 1:50-56; 5:36-38; see also Haimovich Decl., ¶¶81-82,
 111-112.) The patent teaches the use of tail slots to reduce the out-of-band power (a buffer to
 minimize or prevent interference between adjacent frequency bands carrying frames of
 information), with there being a direct correlation between the width (in frequency) of the tail
 slots and the power from within the frequency band that will leak outside of the band:

                   The two tail slots act as guard bands to ensure that the out-of-band
                   signal is below a certain power level. For example, when a pulse
                   P(f) is selected for pulse shaping and the out-of-band signal has to
                   be ydB or less relative to the in-band signal, K2 is selected such
                   that 20.log10 |P(f)/P(0)| ≤ for f ≥ K2 Δf.

                                                 ****

                   The two tail slots of 195.3 KHz each (i.e. 8 points each) ensure that
                   the signal outside the entire band of 100.39 MHz is below -50 dB.

 (Ex. A, 5:35-37 and 7:57-60, emphasis added.) Wi-LAN’s proposed construction of out of band

 signal—power outside the frequency band—is consistent with the claim language and with the

 specification of the ’222 patent, and would be understood as such by one of ordinary skill in the

 art. (See Haimovich Decl., ¶¶81-82.)

 VI.      THE ’802 PATENT TEACHES MULTICODE DIRECT SEQUENCE SPREAD
          SPECTRUM
          The ’802 patent is a continuation-in-part of the ’222 patent and also deals with the field
 of multiple access communications using Spread Spectrum modulation. (Ex. M, 1:8-15.) The
 ’802 patent more broadly extends the patented W-OFDM Spread Spectrum system of the ’222
 patent (which, as discussed above, spreads a user’s data symbols over multiple orthogonal




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 frequencies for transmission over a single communication channel or link).9 For example, the
 ’802 patent claims the use of a Fourier transform (which is used in the ’222 patent’s W-OFDM
 system) to spread a user’s data symbols. (Id., claims 5-8, 26-28.) A commonly used spread
 spectrum technique is Direct Sequence Spread Spectrum (DSSS), which is a communications
 scheme in which information is spread over code bits of an invertible code. (Id., 1:21-27.)
 These code bits are generally known in the art as chips. (Id.) A limitation of prior art DSSS
 systems is the limited throughput they can offer. (Id., 1:48-49.) To enhance throughput, the
 ’802 patent teaches the use of more than one code at the same time for a single user link (i.e., a
 single transceiver). (Id., 2:3-5.) The multiple codes function to divide a communication channel
 or link for a user into multiple “highway lanes” for carrying a user’s data, increasing the
 information throughput for the user with each additional code used in the spreading operation.
 The patent refers to this invention as Multi-Code Direct Sequence Spread Spectrum (MC-DSSS),
 which the patent describes as a modulation scheme that assigns up to N codes to an individual
 transceiver for a user where N is the number of chips per DSSS code. (Id. 2:6-10.) The patented
 W-OFDM system of the ’222 patent is included in the ’802 patent as one embodiment of an MC-
 DSSS system. (Id., 5:7-12; claims 5-8, 26-28.)

 VII.     PROPOSED CONSTRUCTIONS FOR THE ’802 PATENT
         A. Transceiver

                   Claim Term                   Wi-LAN’s Construction                 Defendants’ Proposal

  transceiver                                   a two-way radio unit           link

          Wi-LAN’s construction for “transceiver” for the ’802 patent is the same as its
 construction for “transceiver” for the ’222 patent, while Defendants propose a construction that
 is entirely different from their construction for the ’222 patent. The Defendants’ inconsistent
 constructions are inappropriate given that the ’802 patent is a continuation-in-part of the ’222
 patent. (Ex. M, 1:8-12; 5:7-12.) Claim terms should be construed consistently across a family of
 patents. See NTP, Inc. v. Research in Motion, Ltd., 418 F.3d 1282, 1293 (Fed. Cir. 2005)


 9 The ‘802 patent describes and claims other inventions discussed below in this brief that make implementation of
 the patented MC-DSSS system commercially viable.


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 (“Because [the] patents[in-suit] all derive from the same parent application and share many
 common terms, we must interpret the claims consistently across all asserted patents.”).
 Moreover, Wi-LAN’s construction is consistent with the ’802 patent which describes a
 transceiver for transmitting and receiving at radio frequency (“RF”) using an “antenna”―in
 other words, a two-way radio unit. (Ex. M, claim 17; 6:20-23; 6:37.) Accordingly, Wi-LAN’s
 proposal is consistent with the intrinsic record and ordinary meaning as explained above with
 respect to the ’222 patent and should be adopted.
          In contrast, Defendants’ proposal merely pulls a single word from the ’802 specification
 and takes the language of the specification out of context. (Id., 2:3-5 (“[W]e allow a single link
 (i.e. a single transceiver) to use more than one code at the same time”) (emphasis added).)
 Contrary to Defendants’ proposal, the patentee has not redefined the meaning of “transceiver” in
 this sentence. Indeed, Defendants’ proposal is nonsensical because a “transceiver” is a physical
 device, while a “link” is a term referring to the communications channel in a communication
 system over which the transceiver communicates with other devices.            (See, e.g., Ex. P,
 NEWTON’S TELECOM DICTIONARY (9th ed. 1995), pg. 664 (“LINK 1. Another name for a
 communications channel or circuit.”).) The ’222 patent makes clear the distinction between the
 physical transceiver itself and the intangible communication link over which the transceiver
 communicates a user’s information. (Ex. A, Abstract.) Given that the claims of the ’802 patent
 recite elements of an apparatus, “transceiver” must be construed as a physical device and not
 something intangible like a “link.”




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         B. Converter10

              Claim Term                              Wi-LAN’s Construction                         Defendants’
                                                                                                     Proposal

  a converter for converting the first   converter: a device that accepts data in one form or      This element
  stream of data symbols into plural     mode and changes it to another                            should be
  sets of N data symbols each                                                                      construed in
                                         Alternatively, should the Court construe this element
                                                                                                   accordance with
  a converter for converting the first   pursuant to 35 U.S.C. § 112(6):
                                                                                                   35 U.S.C. §
  stream of data symbols into plural
                                         Corresponding Structure:                                  112(6).
  sets of data symbols each
                                         i) element 10 in FIG. 1 including corresponding           Structure: FIG.
  Note: Wi-LAN only proposes the
                                         descriptions in the specification (col. 4:1-2 and 2:36-   1 (item 10), FIG.
  underlined term for construction
                                         40); ii) element 10 in FIG. 4 including corresponding     4 (item 10), and
                                         descriptions in the specification (col. 4:1-2 and 2:58-   col. 4:1-2
                                         62); and equivalents thereof.

          The parties dispute whether the “converter” terms should be construed under 35 U.S.C. §
 112(6). Defendants’ proposal that the term should be construed under § 112(6) is improper
 given the presumption that this is not a means-plus-function term and the fact that “converter” is
 a well known structural element that has a generally understood structural meaning in the art. As
 an initial matter, this claim term “is presumptively not subject to 112 P6 because it does not
 contain the term ‘means.’” Mass. Inst. of Tech. v. Abacus Software, 462 F.3d 1344, 1353 (Fed.
 Cir. 2006).11 Notably, the patentee used the term “means” in other claim elements of Claim 1
 (i.e. “first computing means” and “means to combine”), showing that the patentee understood
 how to use the term “means” when the patentee wished to invoke § 112(6).
          Furthermore, this is not a case where “the claim term fails to recite sufficiently definite
 structure or else recites function without reciting sufficient structure for performing that
 function.” Id. (internal quotation marks omitted). Rather, the term “converter” is a well known
 structural element that has a generally understood structural meaning in the art as confirmed by
 the dictionary definitions. (See, e.g., Ex. Q, MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY
 (10th ed. 1994), pg. 254 (“converter - (d) a device that accepts data in one form and converts it to


 10
    Because the parties agree on the recited functions, Wi-LAN refers the Court to the joint claim construction
 statement for the recited function for each of the means-plus-function terms. See 2:08-cv-00247, Dkt. No. 100-2,
 100-3.
 11
    See also Lighting World, Inc. v. Birchwood Lighting, Inc., 382 F.3d 1354, 1358 (Fed. Cir. 2004) (“[T]he
 presumption flowing from the absence of the term “means” is a strong one that is not readily overcome.”).


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 another”); Ex. R, THE IEEE STANDARD DICTIONARY OF ELECTRICAL AND ELECTRONICS TERMS
 (6th ed. 1996), pg. 222 (“converter - (9) A device capable of converting impulses from one mode
 to another, such as analog to digital, parallel to serial, or from one code to another.”).)12
 Additionally, a person of ordinary skill understands that “a converter” has a generally understood
 structural meaning in the art that is consistent with the dictionary definitions: “a device that
 accepts data in one form or mode and changes it to another.” (Gitlin Decl., ¶ 21.) Moreover, a
 person of ordinary skill understands that “a converter” recites sufficient structure to perform the
 function of “converting the first stream of data symbols into plural sets of N data symbols each.”
 Id. A serial-to-parallel converter is one example of a converter that can perform this function.
 Id.
          However, if the Court does decide that the presumption that this is not a means-plus-
 function term is overcome, the parties largely agree on the corresponding structure. The sole
 disagreement between the parties regarding corresponding structure is that Wi-LAN identifies
 two additional descriptions from the specification: (Ex. M, 2:36-40 and 2:58-62.) Both of these
 descriptions from the specification should be included in the corresponding structure as they
 mathematically describe element 10 in FIG. 1 and element 10 in FIG. 4, respectively (which the
 parties agree are corresponding structure). (Id., 2:38-40 (“Sym(k)=[sym(1,k) sym(N,k)] is the
 kth information-bearing vector containing N symbols.”); 2:60-62 (“Sym(k)=[Sym(1,k)Sym(2k) .
 . . Sym(N,k)] is the kth information-bearing vector contacting N symbols.”).) Accordingly, the
 structure described at 2:36-40 and 2:58-62 is clearly linked to the “converter” and should be
 included as corresponding structure if the Court finds that § 112(6) applies.                        In addition,
 Defendants’ construction fails to include language that makes clear that the literal scope of a
 means-plus-function claim element under § 112(6) also includes “equivalents” of the
 corresponding structure. See 35 U.S.C. § 112(6) (“An element in a claim for a combination may
 be expressed as a means or step for performing a specified function without the recital of


 12
    Notably, the dictionaries relied on by the Defendants include similar definitions of “converter” and also confirm
 that the term has a well known structural meaning. (See Ex, S, IBM, VOCABULARY FOR DATA PROCESSING
 TELECOMMUNICATIONS, AND OFFICE SYSTEMS (7th ed. 1981) pg. 94; Ex. T, JONAR C. NADER, DICTIONARY OF
 COMPUTING (1992), pg. 96.


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 structure, material, or acts in support thereof, and such claim shall be construed to cover the
 corresponding structure, material, or acts described in the specification and equivalents thereof.”)
 (emphasis added).         Thus, Wi-LAN includes “and equivalents thereof” in its proposed
 constructions for each claim term that is construed in accordance with § 112(6).

         C. First Computing Means

              Claim Terms                        Wi-LAN’s Construction                     Defendants’ Proposal

  first computing means for operating     Wi-LAN contends that this claim element         The parties agree that this
  on the plural sets of N data symbols    should be governed by 35 U.S.C. § 112(6)        claim element should be
  to produce modulated data symbols                                                       construed in accordance
                                          Corresponding Structure: i) element 12
  corresponding to an invertible                                                          with 35 U.S.C. § 112(6).
                                          in FIG. 1 including corresponding
  randomized spreading of the first
                                          descriptions in the specification (col. 2:6-    Structure: FIG. 1 (item
  stream of data symbols
                                          10, 2:36-40, 4:2-4:12 and 4:35-38); ii)         12), FIG. 4 (item 12), and
  first computing means for operating     element 12 in FIG. 4 including                  cols. 2:6-10, 2:36-40,
  on the plural sets of N data symbols    corresponding descriptions in the               2:58-62, 4:2-12, 4:35-44
  to produce sets of modulated data       specification (col. 2:6-10, 2:58-62, 4:39-44,
                                                                                          LG Electronics cites
  symbols corresponding to an             and 4:66-5:12); iii) a computing device
                                                                                          additional structure: FIG.
  invertible randomized spreading of      programmed to perform the algorithms
                                                                                          3 and cols. 2:54-57, 4:29-
  each set of N data symbols over         disclosed by the foregoing; and equivalents
                                                                                          39, 4:66-5:7
  more than one and up to M direct        thereof.
  sequence spread spectrum codes

  first computing means for operating     Wi-LAN contends that this claim element         Structure: invalid for
  on the plural sets of data symbols      should be governed by 35 U.S.C. § 112(6)        failure to meet 35 U.S.C.
  to produce modulated data symbols                                                       §112, if M does not equal
                                          Corresponding Structure: i) element 12
  corresponding to an invertible                                                          N
                                          in FIG. 1 including corresponding
  randomized spreading of the first
                                          descriptions in the specification (col. 2:6-    Alternatively, closest
  stream of data symbols over more
                                          10, 2:36-40, 4:2-4:12 and 4:35-38); ii)         structure:
  than one and up to M direct
                                          element 12 in FIG. 4 including
  sequence spread spectrum codes,                                                         FIG. 1 (item 12), FIG. 4
                                          corresponding descriptions in the
  where each direct sequence spread                                                       (item 12), and cols. 2:6-
                                          specification (col. 2:6-10, 2:58-62, 4:39-44,
  spectrum code has M chips                                                               10, 2:36-40, 2:58-62, 4:2-
                                          and 4:66-5:12); iii) a computing device
                                                                                          12, 4:35-44
                                          programmed to perform the algorithms
                                          disclosed by the foregoing; and equivalents     LG Electronics cites
                                          thereof.                                        additional structure: FIG.
                                                                                          3 and cols. 2:54-57, 4:29-
                                                                                          39, 4:66-5:7

          The parties agree that the “first computing means” terms should be construed under §
 112(6).13 Additionally, the parties agree that the corresponding structure includes element 12 in


 13
    Defendants’ argue that the third “first computing means” claim term is invalid. Defendants’ also argue that the
 terms “source,” “transformer,” “correlator” and “modulator” are invalid. However, patents are presumed valid
 under 35 U.S.C. § 282, and Defendants must demonstrate by clear and convincing evidence that the patent is invalid.
 See ICU Med., Inc. v. Alaris Med. Sys., 558 F.3d 1368, 1376 (Fed. Cir. 2009). Because it is Defendants’ burden to
 overcome this strong presumption, Wi-LAN will not further address Defendants’ invalidity arguments, including

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 FIG. 1, element 12 in FIG. 4, and cols. 2:6-10, 2:36-40, 2:58-62, 4:2-12, and 4:35-44 (but, in
 contrast to Defendants’ proposed construction, Wi-LAN seeks in its construction to avoid
 confusion by associating the description citations to the corresponding element in each figure).
 The parties dispute whether the corresponding structure includes the additional description from
 the specification at 4:66-5:12. The parties also dispute whether the corresponding structure
 includes “a computing device programmed to perform the algorithms disclosed by the
 foregoing.”
          The corresponding structure for the “first computing means” includes the description at
 4:66-5:12 which begins: “Examples of the N-point transforms in FIG. 3 are . . . .” (Ex. M,
 4:66.) This description in the specification provides examples of the N-point transforms that can
 be implemented as elements 20 (N-point transforms) that are illustrated within element 12 in
 FIG. 4 (which the parties agree is corresponding structure). The specification explains that the
 N-point transforms in FIG. 3 can be used in FIG. 4. (Id., 4:38-39 (“An alternative transmitter to
 the one in FIG. 1 using the MC codes in FIG. 3 is shown in FIG. 4.”); Gitlin Decl., ¶ 29.) Thus,
 the specification makes clear to one of ordinary skill that the N-point transforms are not just used
 in FIG. 3 but can also be used in FIG. 4. (Id.) Accordingly, the structure described at 4:66-5:12
 is clearly linked to the “first computing means” and should be included as corresponding
 structure. Notably, Defendant LG Electronics agrees with Wi-LAN that this is corresponding
 structure.
          Additionally, the corresponding structure includes “a computing device programmed to
 perform the algorithms disclosed by the foregoing.” As was the case in In re Dossel, 115 F.3d
 942 (Fed. Cir. 1997), the transceiver claimed by the ’802 patent which performs complex
 mathematical computations can be implemented by or on a general or special purpose computer.
 Id. at 946-47 (“Clearly, a unit which receives digital data, performs complex mathematical
 computations and outputs the results to a display must be implemented by or on a general or
 special purpose computer . . . .”); see also Gitlin Decl., ¶ 19.) Furthermore, “the corresponding



 because Defendants have provided Wi-LAN with no basis for such arguments in its invalidity contentions or
 otherwise and thus such arguments are not properly raised.


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 structure for a § 112 P 6 claim for a computer-implemented function is the algorithm disclosed in
 the specification.” Aristocrat Techs. Austl. PTY Ltd. v. Int’l Game Tech., 521 F.3d 1328, 1334
 (Fed. Cir. 2008) (quoting Harris Corp. v. Ericsson Inc., 417 F.3d 1241, 1253 (Fed. Cir. 2005)).
 In addition to providing corresponding structure in and of themselves, elements 12 in FIGS. 1
 and 4 and the corresponding descriptions in the specification disclose an algorithm that can be
 implemented by a computing device to implement the transceiver claimed by the ’802 patent.
 (Gitlin Decl., ¶ 19.) Accordingly, the corresponding structure for the “first computing means”
 includes “a computing device programmed to perform the algorithms disclosed by the
 foregoing.”14

         D. Spreading

          Claim Term                    Wi-LAN’s                              Defendants’ Proposal
                                       Construction

  spreading                       modulating data symbols       distributing information bits over code chips
                                  by codes of larger            thereby reducing the effective bandwidth
                                  bandwidth

          Defendants’ proposal improperly construes “spreading” as “distributing,” while Wi-
 LAN’s construction confirms that “spreading” is “modulating.”                        Wi-LAN’s construction is
 consistent with the intrinsic record and supported by the extrinsic evidence.                              First, the
 specification explains “spreading” as using a modulator to modulate each data symbol with a
 code symbol and thereby spread each data symbol over a separate code symbol: “modulator 18
 to modulate each ith data symbol from each set of N data symbols with the I code symbol from
 the N code symbol . . . and thereby spread each I data symbol over a separate code symbol.”
 (Ex. M, 4:9-12 (emphasis added)). Importantly, the specification does not define “spreading” as
 “distributing” as the Defendants propose, but makes clear that spreading is “modulating data
 symbols by codes,” consistent with Wi-LAN’s construction. Second, the extrinsic evidence is

 14
   Wi-LAN disagrees with LG Electronics’ proposal that fig. 3 and cols. 2:54-57, and 4:29-39 should be included as
 corresponding structure. “FIG. 3 illustrates the code generator of the MC codes.” (Ex. M, 4:29.) The code
 generator is not clearly linked structure for the “first computing means,” and including such structure would serve to
 read an additional functional limitation into the first computing means (i.e., “generating multiple codes”) that is not
 present. (See id., claim 1.) It is the structure that actually performs the recited function in the claim that is
 corresponding structure. See Omega Engineering, Inc. v. Raytek Corp., 334 F.3d 1314, 1321 (Fed. Cir. 2003)
 (“[T]he structure must be necessary to perform the claimed function.”)


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 consistent with Wi-LAN’s construction and confirms that the codes have a wider or larger
 bandwidth.        (See, e.g., Ex. P, NEWTON’S TELECOM DICTIONARY (9th ed. 1995), pg. 1057
 (“SPREAD SPECTRUM Also called frequency hopping, spread spectrum is a modulation
 technique in which the information content is spread over a wider bandwidth than the frequency
 content of the original information.”); Ex. F, JOHN G. PROAKIS, DIGITAL COMMUNICATIONS, pg.
 800 (2d ed. 1989) (“Spread spectrum signals used for the transmission of digital information are
 distinguished by the characteristic that their bandwidth W is much greater than the information
 rate R in bits per second.”); Ex. C, THE NEW IEEE STANDARD DICTIONARY OF ELECTRICAL AND
 ELECTRONICS TERMS (5th ed. 1993), pp. 1265-66 (“Spread spectrum systems makes use of a
 sequential noise-like signal structure, for example P.N. (pseudonoise) codes, to spread the
 normally narrowband information signal over a relatively wide band of frequencies.”); see also
 Gitlin Decl., ¶ 22.)
          Defendants’ proposal includes additional inconsistencies with the specification and the
 extrinsic evidence.      Defendants’ proposal appears to be based on the statement in the
 “Background of the Invention” section of the specification that “[a]n obvious limitation of DSSS
 systems is the limited throughput they can offer. In any given bandwidth, B, a code of length N
 will reduce the effective bandwidth to B/N.” (Ex. M, 1:48-50 (emphasis added).) However,
 Defendants fail to appreciate that this statement describes the prior art DSSS systems and not the
 invention claimed by the ’802 patent. The patent clarifies that the effective bandwidth of the
 system claimed by the ’802 patent need not be reduced: “To enhance the throughput, we allow a
 single link (i.e., a single transceiver) to use more than one code at the same time . . . . In this
 patent, we present Multi-Code Direct Sequence Spread Spectrum (MC-DSSS) which is a
 modulation scheme that assigns up to N codes to an individual transceiver where N is the number
 of chips per DSSS code.” (Id., 2:3-10.) Thus, by using more than one and up to N codes for a
 single link, the ’802 patent avoids the obvious limitation of DSSS systems that reduces the
 effective bandwidth. Indeed, Defendants’ proposal would exclude preferred embodiments of the
 patent where the number of codes is equal to the number of chips―embodiments where the
 effective bandwidth is not reduced. See MBO Labs., Inc. v. Becton, Dickinson & Co., 474 F.3d



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 1323, 1333 (Fed. Cir. 2007) (“[A] claim interpretation that excludes a preferred embodiment
 from the scope of the claim is rarely, if ever, correct.”) (internal quotation marks omitted); see
 also Gitlin Decl., ¶ 22. Defendants’ proposal would also exclude a claimed and preferred
 embodiment using a Fourier transform for spreading with multiple orthogonal frequencies as in
 the W-OFDM system of the ’222 patent―another embodiment of the ’802 patent where the
 effective bandwidth is not reduced. (Ex. M, 5:7-12; Claims 5-8, 26-28; Ex. A, 1:2-5 and 2:47-
 50; Gitlin Decl., ¶ 22.

         E. Invertible Randomized Spreading

        Claim Term          Wi-LAN’s Construction                      Defendants’ Proposal

  invertible randomized    spreading and applying          spreading using an invertible randomized
  spreading                complex constants chosen        transform
                           randomly, in a manner that is
                                                           LG Electronics’ proposal: spreading using an
                           invertible
                                                           invertible randomizer transform

          Defendants’ proposal limits spreading to “using an invertible randomized transform,”
 while Wi-LAN’s construction, consistent with the specification, clarifies the meaning of
 “randomized.” Wi-LAN’s construction is supported by the specification and prosecution history.
 The patent specification explains that “randomized” refers to applying “complex constants
 chosen randomly,” just as Wi-LAN proposes. (Ex. M, 3:12-14 (“FIG. 8 is a schematic showing
 the Randomizer Transform (RT) where a (1) a (2) . . . a (N) are complex constants chosen
 randomly.”).)     Furthermore, the specification, like Wi-LAN’s construction, is clear that
 randomization is not spreading (as Defendants’ construction implies) and that the result of both
 spreading and randomization is invertible (not just randomizing as Defendants’ construction
 implies). (See id., 4:29-32 and 4:66-5:7 (“Any one of the P N-point transforms in FIG. 3
 consists of a reversible transform to the extent of the available arithmetic precision. . . .
 Examples of the N-point transforms in FIG. 3 are a Discrete Fourier Transform (DFT), . . . a
 Walsh Transform (WT), . . . a Randomizer Transform (RT) . . . and any other reversible
 transform.”); Gitlin Decl., ¶ 23.)       Accordingly, Wi-LAN’s construction should be adopted
 because it clarifies what is meant by “randomized,” including that randomizing is not spreading,
 and because it makes clear that the result of both the spreading and randomization is invertible.


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          Defendants’ proposal is incorrect for several reasons including those noted above. First,
 their proposal suggests that spreading is performed using a “randomized transform” or a
 “randomizer transform.” This is inconsistent with the ’802 specification and both of the parties’
 constructions for “spreading.” Both of the proposed constructions for “spreading” confirm that
 the spreading operation involves a change in the bandwidth.                       However, the “randomizer
 transform” disclosed in FIG. 8 of the patent does not involve any change to the bandwidth.
 (Gitlin Decl., ¶ 23.) Moreover, the specification discloses the use of Fourier Transforms and
 Walsh codes or transforms for spreading.                 (See Ex. M,        4:66-5:7; Gitlin Decl., ¶ 23.)15
 Accordingly, the proper construction of “invertible randomized spreading” cannot mean that the
 spreading operation is performed using a “randomized transform” as suggested by Defendants’
 proposal.
          Defendants' proposal improperly construes “spreading” as “distributing,” while Wi-
 LAN's construction confirms that “spreading” is “modulating.”                      Wi-LAN's construction is
 consistent with the intrinsic record and supported by the extrinsic evidence.                           First, the
 specification explains “spreading” as using a modulator to modulate each data symbol with a
 code symbol and thereby spread each data symbol over a separate code symbol: “modulator 18
 to modulate each with data symbol from each set of N data symbols with the I code symbol from
 the N code symbol . . . and thereby spread each I data symbol over a separate code symbol.”
 (Ex. M, 4:9-12 (emphasis added).) Importantly, the specification does not define “spreading” as
 “distributing” as the Defendants propose, but makes clear that spreading is “modulating data
 symbols by codes,” consistent with Wi-LAN's construction. Second, the extrinsic evidence is
 consistent with Wi-LAN's construction and confirms that the codes have a wider or larger
 bandwidth.
          Finally, Defendants’ proposal suggests that the randomization is limited to using a
 “randomized transform” or “randomizer transform” only. Such a limitation is improper and not
 supported by the specification.            Indeed, Defendants’ proposal would exclude a preferred


 15
   See also, Ex. O, Response to Office Action Mailed 3/29/95, pp. at 15-16 (“It is known in the art to spread symbols
 and spread spectrum applications, including by using Walsh codes as shown in Albrieux et al. (‘952).”).


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 embodiment because FIG. 1 of the patent does not use a “randomized transform” or “randomizer
 transform” for randomizing. (Gitlin Decl., ¶ 23.) One of ordinary skill in reading the ’802
 patent would also recognize that a “randomized transform” or “randomizer transform” is merely
 one available option to apply “complex constants chosen randomly.” (Id.)

         F. Means to Combine

    Claim Term                        Wi-LAN’s Construction                                Defendants’ Proposal

  means to          Wi-LAN contends that this claim element should be governed            The parties agree that this
  combine the       by 35 U.S.C. § 112(6)                                                 claim element should be
  modulated data                                                                          construed in accordance
                    Corresponding Structure: i) element 14 in FIG. 1 including
  symbols for                                                                             with 35 U.S.C. § 112(6).
                    corresponding descriptions in the specification (col. 4:5-7 and
  transmission
                    2:36-40); ii) element 14 in FIG. 4 including corresponding            Structure: FIG. 1 (item
                    descriptions in the specification (col. 4:5-7 and 2:58-62); or iii)   14), FIG. 4 (item 14), and
                    element 20 in FIG. 4 including corresponding descriptions in          col. 4:5-7
                    the specification (col. 4:39-44 and 4:66-5:12); and equivalents
                    thereof.

          The parties agree that this term should be construed under § 112(6). Additionally, the
 parties agree that the corresponding structure includes element 14 in FIG. 1, element 14 in FIG.
 4, and cols. 4:5-7. The parties dispute whether the corresponding structure includes three
 additional descriptions from the specification: 2:36-40, 2:58-62, and 4:66-5:12. Additionally,
 the parties dispute whether the corresponding structure includes element 20 in FIG. 4.
          The corresponding structure for the “means to combine” includes the descriptions from
 the specification at 2:36-40 and 2:58-62. Section 2:36-40 mathematically describes element 14
 in FIG. 1, which the parties agree is corresponding structure for the “means to combine.” (Ex.
 M, 2:37-38 (“d(k)=[d(1,x) d(2,x) . . . d(N,k)]”).) Accordingly, the structure described at 2:36-40
 is clearly linked to the “means to combine” and should be included as corresponding structure.
 Likewise, section 2:58-62 mathematically describes element 14 in FIG. 4, which the parties
 agree is corresponding structure for the “means to combine.” (Id., 2:59 (“d(k)=[d(1,k), d(2,k) . . .
 d(N,k)]”).) Accordingly, the structure described at 2:58-62 is clearly linked to the “means to
 combine” and should be included as corresponding structure.
          Additionally, element 20 in FIG. 4 is corresponding structure for the “means to
 combine.” The ’802 patent explains that examples of the N-point transforms illustrated by



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 elements 20 in FIG. 4 include “a Discrete Fourier Transform (DFT), a Fast Fourier Transform
 (FFT), a Walsh Transform (WT) . . . .” (Id. 4:66-5:12.) Part of the mathematical operation that
 occurs within each of these three examples of N-point transforms combines the modulated data
 symbols for transmission in much the same way that combiner 14 in FIG. 1 (which both parties
 agree is corresponding structure for the “means to combine”) performs the same function.
 (Gitlin Decl., ¶ 24.) Indeed, the element in FIG. 4 that performs the summation function
 performed by element 14 in FIG. 1 is the mathematical combination that occurs within the N-
 point transforms. See id. Moreover, Claim 4 clarifies that the “first computing means,” for
 which the parties agree element 12 in FIG. 4 is corresponding structure, comprises a “means to
 combine;” that “means to combine” is element 20. Accordingly, element 20 in FIG. 4 is clearly
 linked corresponding structure for the “means to combine.”

         G. Source

           Claim Term            Wi-LAN’s Construction                    Defendants’ Proposal

  a source of more than one     a device that originates more   invalid for failure to meet 35 U.S.C. § 112,
  and up to M direct sequence   than one and up to M direct     if M does not equal N
  spread spectrum codes,        sequence spread spectrum
                                                                Alternatively, a source of more than one and
  where M is the number of      codes, where M is the number
                                                                up to M direct sequence spread spectrum
  chips per direct sequence     of chips per direct sequence
                                                                codes, where M is the number of chips per
  spread spectrum code          spread spectrum code
                                                                direct sequence spread spectrum code,
                                                                where M equals N

          Wi-LAN’s construction is the ordinary meaning in the art as supported by the intrinsic
 and extrinsic evidence. For example, the specification explains that “[t]he computing means
 shown in FIG. 1 includes a source 16 of N direct sequence spread spectrum code symbols.” (Ex.
 M, 4:7-9 (emphasis added).) Thus, the description in the specification is consistent with Wi-
 LAN’s construction that a source is “a device that originates.” Furthermore, the dictionary
 definitions support Wi-LAN’s construction.                (See, e.g., Ex. Q, MERRIAM-WEBSTER’S
 COLLEGIATE DICTIONARY (10th ed. 1994), pg. 1123 (“source - 1 b (1) a point of origin or
 procurement”); Ex. C, THE NEW IEEE STANDARD DICTIONARY                             OF   ELECTRICAL      AND

 ELECTRONICS TERMS (5th ed. 1993), pg. 1248 (“source/sink device. Source devices originate
 signals, whereas sink devices terminate signals. Examples of source/sink devices include channel



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 banks and digital crossconnect systems.”).) Finally, Wi-LAN’s construction is consistent with
 the understanding of a person of ordinary skill. (Gitlin Decl., ¶ 28.)
          In contrast, Defendants’ proposal is entirely unhelpful as it does not even construe the
 claim term at issue, but, instead, blatantly attempts to read a limitation into the term that is not
 present in the claim language: “where M equals N.” See Innogenetics, N.V. v. Abbott Labs., 512
 F.3d 1363, 1370 (Fed. Cir. 2008) (“In examining the specification for proper context, however,
 this court will not at any time import limitations from the specification into the claims.”)
 (internal quotation marks omitted). There is no disclaimer in the specification or the prosecution
 history that supports the limitation that “M equals N.” See Seachange International, Inc. v. C-
 COR Inc., 413 F.3d 1361, 1373 (Fed. Cir. 2005) (“A disclaimer must be clear and
 unambiguous.”). Accordingly, Defendants’ proposal should be rejected because there is no basis
 in the claims or the specification to read the limitation “where M equals N” into the construction
 of this claim term.

         H. Transformer

            Claim Term               Wi-LAN’s Construction                     Defendants’ Proposal

  a transformer for operating on   a device that performs an N-       invalid for failure to meet 35 U.S.C. §
  each set of N data symbols to    point transform on each set of N   112, if M does not equal N
  generate modulated data          data symbols to generate
                                                                      Alternatively, a transformer for operating
  symbols as output, the           modulated data symbols as
                                                                      on each set of N data symbols to generate
  modulated data symbols           output, the modulated data
                                                                      modulated data symbols as output, the
  corresponding to a spreading     symbols corresponding to a
                                                                      modulated data symbols corresponding to
  of each data symbol over a       spreading of each data symbol
                                                                      a spreading of each data symbol over a
  separate code selected from a    over a separate code selected
                                                                      separate code selected from a set of more
  set of more than one and up      from a set of more than one and
                                                                      than one and up to M codes, where M is
  to M codes, where M is the       up to M codes, where M is the
                                                                      the number of chips per code and where
  number of chips per code         number of chips per code
                                                                      M equals N

          Wi-LAN’s construction is supported by the intrinsic and extrinsic evidence.                           For
 example, the specification explains that “[t]he alternative transmitter shown in FIG. 4 includes a
 transformer 20 for operating on each set of N data symbols to generate N modulated data
 symbols as output. A series of transforms are shown.” (Ex. M, 4:40-43 (emphasis added).) The
 specification also describes “[e]xamples of the N-point transforms.” (Id., 4:66.) Thus, the
 description in the specification is consistent with Wi-LAN’s construction that a transformer is “a



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 device that performs an N-point transform.” Additionally, Wi-LAN’s construction is consistent
 with the understanding of a person of ordinary skill. (Gitlin Decl., ¶ 29.)
          Like the Defendants’ proposal for “source,” their proposal for “transformer” is similarly
 unhelpful as it does not construe the claim term at issue, but, instead, blatantly attempts to read a
 limitation into the term that is not present in the claim language: “where M equals N.” Again,
 there is no disclaimer in the specification or the prosecution history that supports the limitation
 that “M equals N.” See Seachange, 413 F.3d at 1373. Accordingly, Defendants’ proposal
 should be rejected because there is no basis in the claims or the specification to read the
 limitation “where M equals N” into the construction of this claim term.

         I. Correlator

            Claim Term            Wi-LAN’s Construction                    Defendants’ Proposal

  a correlator for correlating    a device that measures the     invalid for failure to meet 35 U.S.C. § 112,
  each modulated data symbol      degree of similarity between   if M does not equal N
  from the received sequence of   the received signal and each
                                                                 Alternatively, a correlator for correlating
  modulated data symbols with     code from a set of more than
                                                                 each modulated data symbol from the
  a code from a set of more       one and up to M codes, where
                                                                 received sequence of modulated data
  than one and up to M codes,     M is the number of chips per
                                                                 symbols with a code from a set of more than
  where M is the number of        code
                                                                 one and up to M codes, where M is the
  chips per code
                                                                 number of chips per code and where M
                                                                 equals N

          Wi-LAN’s construction is the ordinary meaning in the art as supported by the intrinsic
 and extrinsic evidence. For example, the specification explains that “[t]he dot product in FIG. 2
 can be implemented as a correlator.” (Ex. M, 4:15-16 (emphasis added).) The specification
 further states: “The computing means 24 shown in FIG. 2 includes a correlator 26 for correlating
 each I modulated data symbol from the received sequence of modulated data symbols with the I
 code symbol from the set of N code symbols and a detector 28 for detecting an estimate of the
 data symbols from output of the correlator 26.” (Id., 4:22-28 (emphasis added).) The correlator
 described in the above cited sections of the specification correlates for the purpose of “detecting
 an estimate of the data symbols.” (Id.) The way that the correlator does this is by measuring
 how similar the received signals are to the respective codes. (Gitlin Decl., ¶ 30.) Thus, the
 description in the specification is consistent with Wi-LAN’s construction that a correlator is “a



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 device that measures the degree of similarity between the received signal and each code.”
 Additionally, Wi-LAN’s construction is consistent with the understanding of a person of
 ordinary skill. (Id.) Again, Defendants’ proposal for “correlator” should be rejected for the
 same reasons their proposals for “source” and “transformer” are improper.

         J. Modulator

                   Claim Term                    Wi-LAN’s Construction                Defendants’ Proposal

  a modulator to modulate each data symbol    a device that varies one or more of    invalid for failure to meet
  from each set of data symbols with a code   the amplitude, frequency, or phase     35 U.S.C. § 112
  from the up to M direct sequence spread     of each data symbol from each set
  spectrum codes to generate modulated data   of data symbols in accordance with
  symbols, and thereby spread each set of     a code from the up to M direct
  data symbols over a separate code           sequence spread spectrum codes

          Wi-LAN’s construction is the ordinary meaning in the art as supported by the intrinsic
 and extrinsic evidence. For example, the specification states: “The computing means shown in
 FIG. 1 includes a source 16 of N direct sequence spread spectrum code symbols and a modulator
 18 to modulate each ith data symbol from each set of N data symbols with the I code symbol
 from the N code symbol to generate N modulated data symbols, and thereby spread each I data
 symbol over a separate code symbol.” (Ex. M, 4:7-12 (emphasis added).) Thus, the description
 in the specification is consistent with Wi-LAN’s construction that a modulator is “a device that
 varies one or more of the amplitude, frequency, or phase of.”                      Furthermore, Wi-LAN’s
 construction is confirmed by the dictionary definitions. (See, e.g., Ex. Q, MERRIAM-WEBSTER’S
 COLLEGIATE DICTIONARY (10th ed. 1994), pg. 748 (“modulate - 3 : to vary the amplitude,
 frequency, or phase of (a carrier wave or a light wave) for the transmission of intelligence (as by
 radio)”).) Additionally, Wi-LAN’s construction is consistent with the understanding of a person
 of ordinary skill. (Gitlin Decl., ¶ 26.) In contrast, Defendants fail to provide any proposed
 construction for this claim term.




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         K. Direct Sequence Spread Spectrum Codes

               Claim Term                     Wi-LAN’s                       Defendants’ Proposal
                                             Construction

  direct sequence spread spectrum        codes over which         pseudo random noise sequences over which
  codes                                  information bits are     information bits are spread
                                         spread

          The parties’ constructions are in agreement with respect to the phrase “over which
 information bits are spread.” Thus, the dispute turns on whether the term should be construed as
 “codes” as Wi-LAN proposes, or limited to “pseudo random noise sequences” as the Defendants
 propose. Wi-LAN’s construction is supported by the specification and prosecution history, and
 there is no disclaimer that would limit the claim term to “pseudo random noise sequences.” The
 specification defines Direct Sequence Spread Spectrum (DSSS) as “a communication scheme in
 which information bits are spread over code bits (generally called chips).” (Ex. M, 1:25-27
 (emphasis added).) The specification is clear that DSSS spreads over code bits, as reflected in
 Wi-LAN’s construction, and not “pseudo random noise sequences,” as Defendants propose.
 Furthermore, the prosecution history confirms that direct sequence spread spectrum codes are
 codes applied to data symbols. (See Ex. N, Combined Declaration and Power of Attorney for
 Reissue Patent Application, pg. 2 (“To clarify possible misinterpretations, the term ‘code
 symbol’ is replaced by the term ‘direct sequence spread spectrum code’ or ‘code’ in the reissue
 application.”).)
          Defendants’ proposal appears to rely on the statement in the “Background of the
 Invention” section of the specification which explains that in the prior art it “is customary to use
 noise-like codes called pseudo random noise (PN) sequences,” (Ex. M, 1:27-28); however, the
 specification goes on to explain that “[i]n this patent, we introduce new codes, which we refer to
 as ‘MC’ codes.” (Id., 2:15-16 (emphasis added).) Moreover, the patent refers to Fourier
 Transforms and Walsh codes or transforms as direct sequence spread spectrum codes. (Ex. M,
 claims 26-28; 4:66-5:6; Ex. A, 1:2-5; 2:47-50; Gitlin Decl., ¶ 25.)16 One of ordinary skill would
 not understand these codes discussed in the patent to be “pseudo random noise sequences.”

 16
   See also Ex. O, Response to Office Action Mailed 3/29/95, pp. 15-16 (“It is known in the art to spread symbols
 and spread spectrum applications, including by using Walsh codes as shown in Albrieux et al. (‘952).”).


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 (Gitlin Decl., ¶ 25.) Accordingly, it is clear that there is no disclaimer limiting the DSSS codes
 claimed by the ’802 patent to “pseudo random noise sequences,” and that such a construction
 would exclude the codes disclosed by the preferred embodiments. See Seachange, 413 F.3d at
 1373; MBO Labs., 474 F.3d at 1333.

         L. Means for Receiving

                   Claim Term                       Wi-LAN’s Construction                     Defendants’
                                                                                               Proposal

  means for receiving a sequence of         Wi-LAN contends that this claim element          The parties agree
  modulated data symbols, the modulated     should be governed by 35 U.S.C. § 112(6)         that this claim
  data symbols having been generated by                                                      element should
                                            Corresponding Structure: i) element 22 in
  invertible randomized spreading of a                                                       be construed in
                                            FIG. 2 including corresponding descriptions
  second stream of data symbols                                                              accordance with
                                            in the specification (col. 2:41-43 and 4:18-
                                                                                             35 U.S.C. §
  means for receiving a sequence of         21); ii) the corresponding element in FIG. 5
                                                                                             112(6).
  modulated data symbols, the modulated     to element 22 (which includes the serial-to-
  data symbols having been generated by     parallel converter) including corresponding      Structure: FIG.
  invertible randomized spreading of a      descriptions in the specification (2:63-64 and   2 (item 22) and
  second stream of data symbols over more   4:18-21); iii) FIG. 20 including                 col. 4:18-21
  than one and up to M direct sequence      corresponding descriptions in the
  spread spectrum codes                     specification (3:58-60 and 6:20-35); and
                                            equivalents thereof.

          The parties agree that the “means for receiving” terms should be construed under §
 112(6). Additionally, the parties agree that the corresponding structure includes element 22 in
 FIG. 2 and cols. 4:18-21. The parties dispute whether the corresponding structure includes the
 corresponding element in FIG. 5 to element 22 and four additional descriptions from the
 specification: 2:41-43, 2:63-64, 3:58-60, and 6:20-35. Additionally, the parties dispute whether
 the corresponding structure includes FIG. 20.
          The corresponding structure for the “means for receiving” includes the descriptions from
 the specification at 2:41-43 and 2:63-64. Section 2:41-43 describes the “means for receiving” in
 FIG. 2: “FIG. 2 is a schematic showing a Baseband Receiver for the kth received MC-DSSS
 frame: d′(k)=[d′(1,k) d′(2,k) . . . d′(N,k)].” (Ex. M, 2:41-43.) Additionally, section 2:63-64
 describes the “means for receiving” in FIG. 5: “FIG. 5 is the alternate receiver for the kth
 received MC-DSSS frame d′(k)=[d′(1k)d′(2,K) . . .d′(N,k)].” (Id., 2:63-64.) Accordingly, the
 structure described at 2:41-43 and 2:63-64 is clearly linked to the “means for receiving” and
 should be included as corresponding structure.


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          The corresponding structure for the “means for receiving” includes the corresponding
 element in FIG. 5 to element 22 in FIG. 2. Element 22 in FIG. 2, which the parties agree is
 corresponding structure, is labeled d’(k).           FIG. 5 includes an unnumbered element that
 corresponds to element 22―the unnumbered d’(k) and the serial-to-parallel converter at the far
 left of the figure. Although there are no numerical labels in FIG. 5, it is clear that d’(k) in FIG. 2
 corresponds to d’(k) in FIG. 5. (Id., 2:41-43; 2:63-64 (quoted above).) Additionally, FIG. 5 is
 described as the “alternative receiver to the one in FIG. 2.” (Id., 4:44-45.)
          The corresponding structure for the “means for receiving” also includes FIG. 20 and the
 corresponding descriptions at 3:58-60 and 6:20-35. The specification explains that FIG. 20
 discloses an embodiment of the “receiver”: “FIG. 20 is a schematic showing the passband
 receiver for a packet where fo is the IF frequency and fo+fc is the RF frequency.” (Id., 3:58-60
 (emphasis added).)        Accordingly, FIG. 20 is clearly linked structure for the “means for
 receiving,” and 3:58-60 is corresponding description. Additionally, the specification further
 explains the “receiver” embodiment disclosed in FIG. 20 at 6:20-35: “FIGS. 19 and 20 which
 illustrate the transmitter and the receiver respectively.”             (Id., 6:27-28 (emphasis added).)
 Accordingly, the structure described at 6:20-35 is clearly linked to the “means for receiving” in
 FIG. 20 and should be included as corresponding structure.

         M. Second Computing Means

       Claim Terms                          Wi-LAN’s Construction                            Defendants’
                                                                                              Proposal

  second computing         Wi-LAN contends that this claim element should be governed     The parties agree
  means for operating on   by 35 U.S.C. § 112(6).                                         that this claim
  the sequence of                                                                         element should be
                           Corresponding Structure: i) element 24 in FIG. 2 including
  modulated data                                                                          construed in
                           corresponding descriptions in the specification (2:41-54 and
  symbols to produce an                                                                   accordance with 35
                           4:13-28); ii) the elements of FIG. 5 between the serial-to-
  estimate of the second                                                                  U.S.C. § 112(6).
                           parallel and parallel-to-serial converters including
  stream of data symbols
                           corresponding descriptions in the specification (2:63-67 and   Structure: FIG. 2
                           4:44-46); or iii) a computing device programmed to perform     (item 24) and cols.
                           the algorithms disclosed in the foregoing; and equivalents     2:41-54, 4:21-28
                           thereof.

          The parties agree that this term should be construed under § 112(6). Additionally, the
 parties agree that the corresponding structure includes element 24 in FIG. 2 and cols. 2:41-54



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 and 4:21-28. The parties dispute whether the corresponding structure includes the elements of
 FIG. 5 between the serial-to-parallel and parallel-to-serial converters and the additional
 description from the specification at 4:13-28, 2:63-67, and 4:44-46. The parties also dispute
 whether the corresponding structure includes and “a computing device programmed to perform
 the algorithms disclosed by the foregoing.”
          The corresponding structure for the “second computing means” includes the entire
 description at 4:13-28. This section of the specification begins: “FIG. 2 illustrates the receiver
 of the MC-DSSS modulation techniques accepting the kth MC-DSSS frame and generating
 estimates for the corresponding N symbols of information.” (Ex. M, 4:13-16.) This description
 of FIG. 2 describes the “second computing means” that the parties agree is illustrated by element
 24 in FIG. 2. Accordingly, the structure described at 4:13-28 is clearly linked to the “second
 computing means” and should be included as corresponding structure.
          The corresponding structure for the “second computing means” includes the elements of
 FIG. 5 between the serial-to-parallel and parallel-to-serial converters. FIG. 5 is described as the
 “alternative receiver to the one in FIG. 2.” (Id., 4:44-45.) The parties agree that element 24 in
 FIG. 2 is corresponding structure, and the unnumbered portion of FIG. 5 that corresponds to
 element 24 are the elements between the serial-to-parallel and parallel-to-serial converters.
 Element 24 in FIG. 2 includes the structure in between the “d’(k)” at the input and the “parallel-
 to-serial” converter at the output. Accordingly, the corresponding structure in the “alternative
 receiver” of FIG. 5 is the elements between the serial-to-parallel and parallel-to-serial
 converters.17
          Additionally, the corresponding structure includes “a computing device programmed to
 perform the algorithms disclosed by the foregoing.” As described above with respect to the “first
 computing means,” the transceiver claimed by the ’802 patent can be implemented by or on a
 general or special purpose computer, and the corresponding structure for a § 112(6) claim for a
 computer-implemented function is the algorithm disclosed in the specification. In addition to


 17 The corresponding structure also includes the description of the “second computing means” illustrated in Fig. 5.
 (See id., 2:63-67 (“FIG. 5 is the alternate receiver….”); 4:44-46 (“An alternative receiver to the one in FIG. 2 using
 the MC codes in FIG. 3 is shown in FIG. 5….”).)


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 providing corresponding structure in and of themselves, element 24 in FIG. 2, the elements of
 FIG. 5 between the serial-to-parallel and parallel-to-serial converters, and the corresponding
 descriptions in the specification disclose an algorithm that can be implemented by a computing
 device to implement the transceiver claimed by the ’802 patent.                    (Gitlin Decl., ¶ 19.)
 Accordingly, the corresponding structure for the “second computing means” includes “a
 computing device programmed to perform the algorithms disclosed by the foregoing.”

         N. Means to Combine Output from the Second Computing Means

      Claim Terms                   Wi-LAN’s Construction                         Defendants’ Proposal

  means to combine      Wi-LAN contends that this claim element should be      The parties agree that this
  output from the       governed by 35 U.S.C. § 112(6).                        claim element should be
  second computing                                                             construed in accordance with
                        Corresponding Structure: parallel to serial
  means                                                                        35 U.S.C. § 112(6).
                        converters in FIGS. 2 and 5 including corresponding
                        descriptions in the specification (2:41-54 and 2:63-   Structure: FIG. 2 (parallel-
                        67); and equivalents thereof.                          to-serial converter)

          The parties agree that this term should be construed under § 112(6). Additionally, the
 parties agree that the corresponding structure includes the parallel-to-serial converter in FIG. 2.
 The parties dispute whether the corresponding structure includes the parallel-to-serial converter
 in FIG. 5 and the description from the specification at 2:41-54 and 2:63-67. FIG. 5 is described
 as the “alternative receiver to the one in FIG. 2.” (Ex. M, 4:44-45.) Accordingly, the parallel-
 to-serial converter in FIG. 5 is also corresponding structure.
          In reference to FIG. 2, the specification mathematically describes the “means to combine
 output from the second computing means:” “Sym(k)=[sym(1,k) sym(2,k)…sym(N,k)] is the
 estimate of the Kth information-bearing vector Sym(k) . . . .” (Id., 2:44-45.) Likewise, in
 reference to FIG. 5, the specification mathematically describes the “means to combine output
 from the second computing means:” “Sym(k)=[sym(1,k) sym(2k)…sym(N,k)] is the estimate of
 the information-bearing vector Sym(k).” (Id., 2:65-67.) Accordingly, the structure described at
 2:41-54 and 2:63-67 is clearly linked to the “means to combine output from the second
 computing means” and should be included as corresponding structure.




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         O. Combining the Modulated Data Symbols for Transmission

          Claim Term                   Wi-LAN’s Construction                         Defendants’ Proposal

  combining the modulated          no construction necessary (i.e. to       using a parallel-to-serial converter to
  data symbols for                 combine the modulated data               combine the modulated data symbols for
  transmission                     symbols for transmission)                transmission

          Defendants’ proposal does not attempt to construe the claim language at issue, and the
 Defendants agree that the term should be construed as “to combine the modulated data symbols
 for transmission.” Rather, Defendants’ proposal attempts to read a limitation into the claim that
 it must be performed “using a parallel-to-serial converter.” Accordingly, the issue for the Court
 to decide is whether the claim term must be performed “using a parallel-to-serial converter.”18
 Importantly, there is no disclaimer in the specification or the prosecution history that would
 support such a limitation. Moreover, Defendants’ construction improperly attempts to read a
 structural limitation into a functional element of a method claim.
          Defendants’ proposal also improperly excludes a preferred embodiment. See MBO Labs.,
 474 F.3d at 1333. The ’802 patent specification explains that a “combiner 14 combines the
 modulated data symbols for transmission.” (Ex. M, 4:6-7.) Combiner 14 is illustrated in FIG. 1
 as an adder or a summer. (Gitlin Decl., ¶ 24.) Notably, Defendants’ identify combiner 14 in
 FIG. 1 as corresponding structure for the means-plus-function term “means to combine the
 modulated data symbols for transmission.” Thus, Combiner 14 in FIG. 1 (an adder or a summer)
 can be used to perform the claimed “combining” function, and there can be no dispute that
 combiner 14 in FIG. 1 is not “a parallel-to-serial converter.” (Id.) Accordingly, Defendants’
 proposal should be rejected because it improperly excludes a preferred embodiment and reads a
 limitation into the claim term without any justification.




 18 Because this claim term can be easily understood by a jury, no construction is necessary. See Saxon Innovations
 v. Nokia Corp., No. 6:07-CV-490, 2009 U.S. Dist. LEXIS 67019, at *47 (E.D. Tex. July 30, 2009) (“The Court finds
 that these terms will be easily understood by a jury, and that no construction is necessary for either of these terms.”);
 Peer Commc’ns Corp. v. Skype Techs. SA, No. 6:06CV370, 2008 U.S. Dist. LEXIS 92683, at **9–10 (E.D. Tex.
 May 29, 2008) (declining to construe term that the jury can understand) (internal citation omitted)).


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                                 CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing pleading was electronically filed in
 compliance with Local Rule 5.1. As such, this notice was served on all counsel who are deemed
 to have consented to electronic service on January 20, 2010.


                                                 /s/ Sam Baxter_____________

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